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                6
                7
                8                          UNITED STATES DISTRICT COURT
                9                         CENTRAL DISTRICT OF CALIFORNIA
               10
               11
               12 PAUL WARD, individually and on                CASE NO. 2:23-cv-07838
                  behalf of other persons similarly
               13 situated,                                     DECLARATION OF STEPHEN
                                                                ROSSI IN SUPPORT OF
               14                 Plaintiff,                    DEFENDANTS HOME BOX
                                                                OFFICE, INC. AND COOLER
               15            v.                                 WATERS PRODUCTIONS, LLC’S
                                                                NOTICE OF REMOVAL
               16 HOME BOX OFFICE, INC., a foreign
                  corporation; COOLER WATERS
               17 PRODUCTIONS, LLC, a foreign
                  limited liability company, and DOES 1         (Federal Question Jurisdiction 28
               18 through 50, inclusive,                        U.S.C. §§ 1331, 1441)
               19                 Defendants.                   (Removed from LASC Case No.
                                                                22STCV11666)
               20
                                                                [Notice of Removal; Declaration of
               21                                               Evan Sherman; Notice of Related
                                                                Case; Certificate of Interested Parties
               22                                               and Corporate Disclosure Statement
                                                                Pursuant to FRCP 7.1 and Local Rule
               23                                               7.1-1, and Civil Cover Sheet filed
                                                                concurrently herewith]
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  Mitchell     28
Silberberg &
 Knupp LLP
                                                DECLARATION OF STEPHEN ROSSI
                    15718445.1
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                1                         DECLARATION OF STEPHEN ROSSI
                2            I, Stephen Rossi, declare:
                3            1.    I am an attorney at law duly licensed to practice law in the State of
                4 California and before this Court. I am a partner in the law firm of Mitchell
                5 Silberberg & Knupp LLP, attorneys of record for Defendants Home Box Office,
                6 Inc. (“HBO”) and Cooler Waters Productions, LLC (“Cooler Waters”)
                7 (collectively, “Defendants”). I have personal knowledge of the following facts
                8 and, if called and sworn as a witness, could and would competently testify thereto.
                9            •     Attached hereto as Exhibit 1 is a true and correct copy of the
               10 Complaint filed by Plaintiff Paul Ward (“Plaintiff”) in the case entitled, Paul
               11 Ward, individually and on behalf of other persons similarly situated v. Home Box
               12 Office, Inc.; Cooler Waters Productions, LLC; and Does 1 through 50, on May 22,
               13 2023 in the Superior Court of the State of California, County of Los Angeles, Case
               14 No. 22STCV11666 (“State Court Action”). This document was personally served
               15 on Defendants via notice and acknowledgment of receipt on August 21, 2023.
               16            2.    Attached hereto as Exhibit 2 is a true and correct copy of the
               17 Summons against HBO and Cooler Waters filed by Plaintiff in the State Court
               18 Action on May 22, 2023.
               19            3.    Attached hereto as Exhibit 3 is a true and correct copy of the Civil
               20 Cover Sheet filed by Plaintiff in the State Court Action on May 22, 2023.
               21            4.    Attached hereto as Exhibit 4 are true and correct copies of all other
               22 documents filed by Plaintiff in the State Court Action on May 22, 2023, as follows:
               23 (a) Notice of Case Assignment – Unlimited Civil Case; (b) Voluntary Efficient
               24 Litigation Stipulations; (c) Alternative Dispute Resolution (“ADR”) Information
               25 Packet; and (d) First Amended General Order.
               26            5.    Attached hereto as Exhibit 5 are true and correct copies of the State
               27 Court’s Order Re: Complex Designation and Certificate of Mailing dated June 7,
  Mitchell     28
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 Knupp LLP
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                                                 DECLARATION OF STEPHEN ROSSI
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                1 2023.
                2            6.    Attached hereto as Exhibit 6 is a true and correct copy of the Initial
                3 Status Conference Order (Complex Cases/Class Actions) filed June 7 2023.
                4            7.    Attached hereto as Exhibit 7 is a true and correct copy of the Notice
                5 and Acknowledgment of Receipt, dated August 21, 2023.
                6            8.    Attached hereto as Exhibit 8 is a true and correct copy of the Proof of
                7 Service of the State Court’s Order Re: Complex Designation and Initial Status
                8 Conference Order filed August 11, 2023.
                9            9.    Attached hereto as Exhibit 9 is a true and correct copy of Defendant’s
               10 Notice of Appearance of Counsel for Defendants Home Box Office, Inc. and
               11 Cooler Waters Productions, LLC filed August 21, 2023.
               12            10.   Attached hereto as Exhibit 10 is a true and correct copy of the Notice
               13 of Related Case filed by Plaintiff in the State Court Action on August 25, 2023.
               14            11.   Attached hereto as Exhibit 11 is a true and correct copy of the Notice
               15 of Related Case Proof of Service filed by Plaintiff in the State Court Action on
               16 August 25, 2023.
               17            12.   Attached hereto as Exhibit 12 is a true and correct copy of the Joint
               18 Stipulation and Order to Continue the Initial Status Conference; Proposed Order in
               19 the State Court Action filed August 25, 2023.
               20            13.   Attached hereto as Exhibit 13 is a true and correct copy of the State
               21 Court’s Order Re: Notice of Related Case and Certificate of Mailing dated August
               22 30, 2023.
               23            14.   Attached hereto as Exhibit 14 is a true and correct copy of the State
               24 Court’s Order Re: Nunc Pro Tunc and Certificate of Mailing dated August 30,
               25 2023.
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 Knupp LLP
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                                                DECLARATION OF STEPHEN ROSSI
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                1            15.       Attached hereto as Exhibit 15 is a true and correct copy of the Proof
                2 of Service Re: Notice and Acknowledgment of Receipt – Civil filed August 7,
                3 2023.
                4                16.   Attached hereto as Exhibit 16 is a true and correct copy of the
                5 Answer filed by Defendants on September 19, 2023, in the State Court Action, and
                6 Served on Plaintiff on September 19, 2023.
                7            17.       Attached hereto as Exhibit 17 is a true and correct copy of the
                8 Amended Proof of Service re Answer filed by Defendants on September 19, 2023,
                9 in the State Court Action, and Served on Plaintiff on September 19, 2023.
               10            18.       To the best of my knowledge, no “Doe” defendants have been served
               11 with the Summons and Complaint in the State Court Action.
               12            I declare under penalty of perjury under the laws of the United States of
               13 America that the foregoing is true and correct.
               14            Executed this 19th day of September, 2023 at Los Angeles, California.
               15
               16
               17                                                               Stephen Rossi
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  Mitchell     28
Silberberg &
 Knupp LLP
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                                                    DECLARATION OF STEPHEN ROSSI
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            EXHIBIT 1




                                                                   Exhibit 1
                                                                     Page 5
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 9 Attorneys for Plaintiff Paul Ward
10
                               SUPERIOR COURT OF CALIFORNIA
11
                                  COUNTY OF LOS ANGELES
12
   PAUL WARD, individually and on behalf of    Case No.:
13 other persons similarly situated,
                                               CLASS ACTION
14                Plaintiff,
                                               COMPLAINT FOR DAMAGES:
15         vs.
                                               1.      Failure to Pay All Premium Wages
16 HOME BOX OFFICE, INC., a foreign            2.      Failure to Pay All Overtime Wages
   corporation; COOLER WATERS                  3.      Failure to Pay All Wages Due and
17 PRODUCTIONS, LLC, a foreign limited                 Owing On Separation;
   liability company; and DOES 1 through 50,
                                               4.      Failure to Provide Accurate Wage
18 inclusive,
                                                       Statements;
19                Defendants.                  5.      Unfair Business Practices [Cal. Bus.
                                                       & Prof. Code §§ 17200]
20
                                               DEMAND FOR JURY TRIAL
21

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                                          COMPLAINT




                                                                                     Exhibit 1
                                                                                       Page 6
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 1          Plaintiff Paul Ward (“Plaintiff”) on behalf of himself, and all others similarly situated,

 2 complains and alleges as follows:

 3                                           INTRODUCTION

 4          1.       This is a class action lawsuit brought on behalf of Plaintiff and other similarly

 5 situated persons who work or worked as non-union background talent for Defendants, Home Box
 6 Office, Inc. and/or Cooler Waters Productions, LLC who, in addition to their base hourly rate,
 7 earned other forms of compensation not excludable under California law when calculating an

 8 employee’s regular rate. Plaintiff’s claims for overtime and meal and rest period violations,

 9 inaccurate wage statement penalties, waiting time penalties, and unfair competition arise from
10 Defendants’ failure to factor these forms of non-discretionary remuneration into the calculation

11 of the regular rate of pay for the payment of overtime (and double time) and the calculation of

12 the regular rate of compensation for the payment of break premiums under Labor Code § 226.7

13 and 512. Pursuant to Code of Civil Procedure § 382, Plaintiff seeks class-wide remedies for
14 underpayment of premium wages for meal and rest period violations, underpayment of overtime

15 wages, waiting time penalties in the form of continuation wages for failure to timely pay

16 employees all wages, inaccurate wage statement penalties, equitable relief, reasonable attorneys’

17 fees and costs.

18                                    JURISDICTION AND VENUE

19          2.       The Superior Court of the State of California has jurisdiction in this matter

20 because Plaintiff is a resident in the State of California and Defendants are qualified to do
21 business in and regularly conduct business in California. Further, no federal question is at issue

22 because the claims are based solely on California law.
23          3.       This Court has jurisdiction over this action under Article 6 of the California

24 Constitution and California Code of Civil Procedure § 410.10.
25          4.       This Court has jurisdiction over Plaintiff’s and Class Members’ claims for unpaid

26 overtime wages, unpaid premium wages and waiting time penalties under California Labor Code

27 § 218.
28                                                      1
                                                  COMPLAINT




                                                                                                     Exhibit 1
                                                                                                       Page 7
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 1          5.     This Court has jurisdiction over Plaintiff’s and the Class Members’ claims for

 2 restitution of unpaid wages and other ill-gotten benefits arising from Defendants’ unlawful

 3 and/or unfair business practices under California Business & Professions Code §§ 17200 et seq.

 4          6.     Venue is proper in this judicial district, pursuant to California Code of Civil

 5 Procedure § 395.5, because Plaintiff, and other persons similarly situated, performed work for
 6 Defendants in the County of Los Angeles, Defendants maintain offices and facilities and transact
 7 business in the County of Los Angeles, and Defendants’ illegal policies and practices that are the

 8 subject of this action were applied, at least in part, to Plaintiff and other persons similarly

 9 situated in the County of Los Angeles.
10                                              PARTIES

11          7.     Plaintiff Paul Ward is a resident of Los Angeles County, California. Plaintiff was

12 employed by Defendants as a non-exempt non-union background actor in Los Angeles,

13 California, on September 16, 2022.
14          8.     Plaintiff appears in this action on behalf of himself and on behalf of all others

15 similarly situated.

16          9.     During Plaintiff’s employment, Plaintiff worked more than 8 hours per day and as

17 much as 10.2 hours per day. In addition, Plaintiff and other similarly situated hourly employees

18 received various forms of non-discretionary incentive pay, including but not limited to shift

19 differentials or lump sum payments for wet work, smoke work, hair premiums, body make-up

20 premiums, wardrobe allowances, night premiums, among other things, that are not excludable
21 under California law when calculating an employee’s regular rate (hereinafter the

22 aforementioned forms of pay are collectively referred to as “Incentive Pay”).
23          10.    On information and belief, Home Box Office, Inc. is now, and at all times

24 mentioned in this complaint, was, a foreign corporation organized and existing under the laws of
25 the State of Delaware and is qualified to do business in California.
26

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28                                                    2
                                                COMPLAINT




                                                                                                Exhibit 1
                                                                                                  Page 8
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 1           11.     On information and belief, Cooler Waters Productions, LLC is now, and at all

 2 times mentioned in this complaint, was, a foreign limited liability company organized and

 3 existing under the laws of the State of Delaware and is qualified to do business in California.

 4           12.     Plaintiff is informed and believes that DOES 1 through 50 are corporations,

 5 individuals, limited liability partnerships, limited liability companies, general partnerships, sole
 6 proprietorships or are other business entities or organizations of a nature not currently known to
 7 Plaintiff.

 8           13.     Plaintiff is unaware of the true names of Defendants DOES 1 through 50.

 9 Plaintiff sues said defendants by said fictitious name and will amend this complaint when the
10 true names and capacities are ascertained or when such facts pertaining to liability are

11 ascertained, or as permitted by law or by the Court. Plaintiff is informed and believes that each

12 of the fictitiously named Defendants is in some manner responsible for the events and allegations

13 set forth in this complaint.
14           14.     All of the acts and failures to act alleged herein were duly performed by and were

15 attributable to all Defendants, each acting as a joint employer, successor, agent, employee, or

16 under the direction and control of the others, except as specifically alleged otherwise. Said acts

17 and failures to act were within the scope of such agency and/or employment, and each Defendant

18 participated in, approved and/or ratified the unlawful acts and omissions by the other Defendants

19 complained of herein. Whenever and wherever reference is made in this Complaint to any act by

20 a Defendant or Defendants, such allegations and reference shall also be deemed to mean the acts
21 and failures to act of each Defendant acting individually, jointly and/or severally.

22           15.     Plaintiff makes the allegations in this complaint without any admission that, as to

23 any particular allegation, Plaintiff bears the burden of pleading, proving, or persuading, and

24 Plaintiff reserves all of Plaintiff’s rights to plead in the alternative.
25           16.     Defendants Home Box Office, Inc., Cooler Waters Productions, LLC and DOES

26 1-50 are collectively referred to herein as “Defendants,” and each, a “Defendant.”

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28                                                       3
                                                   COMPLAINT




                                                                                                     Exhibit 1
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 1                             GENERAL FACTUAL ALLEGATIONS

 2          17.    Facts Related to Defendants’ Calculation of Overtime Wages: On or about

 3 September 16, 2022 and September 22, 2022, Defendants employed Plaintiff as a non-union

 4 background actor to appear in the show, “Winning Time.” Defendants paid Plaintiff a base

 5 hourly rate of $16.50 per hour. On September 16, 2022, Plaintiff worked at least eight (8) hours
 6 and received a meal premium for $16.50.
 7          18.    On September 22, 2022, Plaintiff worked at least 10.2 hours. As such, Defendants

 8 paid Plaintiff 2 hours of overtime at one and one-half time his base hourly rate (or $24.75/hour)

 9 and 0.2 hours of double time at twice his base hourly rate (or $33.00/hour).
10          19.    On both days, Plaintiff also earned and was promised an additional $10 for

11 performing work that involved smoke (referred to on his paystub as “SMOKE WORK”). On

12 September 22, 2022, Plaintiff also earned and was promised an additional $10 for getting his hair

13 cut (referred on his paystub as “HAIR”). Each of the $10 promised payment was not based solely
14 on the discretion of Defendants and, as such, was required to be factored into the calculation of

15 Plaintiff’s regular rate of pay for the payment of his overtime and double time wages and into the

16 calculation of Plaintiff’s regular rate of compensation for the payment of his meal period

17 premium.

18          20.    Despite Defendants’ promised payment of the non-discretionary “SMOKE

19 WORK” and (as applicable) “HAIR” payment to Plaintiff, and other similarly situated hourly

20 employees, Defendants failed to include the payment when calculating Plaintiff’s and other
21 similarly situated persons’ regular rate of pay, thereby causing them to be underpaid all of their

22 required overtime and double time wages. Instead, Defendants paid Plaintiff one and one-half
23 times his base rate, which was not equal to one and one-half times the applicable regular rate.

24          21.    On information and belief, during the relevant period, Defendants have failed to

25 factor other forms of Incentive Pay into the regular rates of pay for the payment of overtime and
26 double time wages to persons employed as background talent.

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28                                                    4
                                                COMPLAINT




                                                                                                 Exhibit 1
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 1         22.     Facts Related to Defendants’ Calculation of Meal and Rest Period Premiums:

 2 Section 11 of the applicable Wage Orders provides: “If an employer fails to provide an employee

 3 a meal period in accordance with the applicable provisions of this order, the employer shall pay

 4 the employee one (1) hour of pay at the employee’s regular rate of compensation for each

 5 workday that the meal period is not provided.” See, e.g., Wage Order 12-2001(11)(C), (12)(B)
 6 (same re rest periods) (emphasis added); see also Labor Code § 226.7(c) (“If an employer fails to
 7 provide an employee a meal or rest or recovery period in accordance with a state law, …, the

 8 employer shall pay the employee one additional hour of pay at the employee’s regular rate of

 9 compensation for each work day that the meal or rest period is not provided.” (Emphasis
10 added)).

11         23.     During the relevant period, Defendants paid premium wages to Plaintiff and other

12 members of the Break Premium Class for violations of the California’s meal and rest break laws.

13 For example, because Plaintiff experienced meal period violations on September 16, 2022 due to
14 Defendants’ failure to provide him with a compliant meal period, Defendants paid her meal

15 period premiums (reflected on her wage statement or voucher as “DINNER PENALTY” or

16 “MEAL PENALTY”) in the amount of $16.50.

17         24.     As with overtime, Defendants were required to factor the $10 “SMOKE WORK”

18 payment into the calculation of Plaintiff’s regular rate of compensation for the payment of his

19 meal period premium.

20         25.     However, Defendants paid Plaintiff and other members of the Break Premium

21 Class one hour of pay at the employee’s base hourly rate when compensating those employees

22 for violations of the meal and rest period requirements, including in periods when the employee
23 earned Incentive Pay required to be factored into an employee’s regular rate of compensation.

24         26.     On information and belief, during the relevant period, Defendants have failed to

25 factor other forms of Incentive Pay into the regular rates of compensation for the payment of
26 premium wages to persons employed as background talent.

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                                               COMPLAINT




                                                                                               Exhibit 1
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 1                     CLASS DEFINITIONS AND CLASS ALLEGATIONS

 2         27.     Plaintiff brings this action on behalf of herself, on behalf of all others similarly

 3 situated, and as a member of Classes defined as follows:

 4               a. Overtime Class: All current and former non-exempt non-union

 5                 employees of any Defendant employed as background talent in
 6                 California who earned and were paid overtime wages on the same work
 7                 day that any Defendant paid them Incentive Pay (as defined above)

 8                 during the four years preceding the filing of Plaintiff’s Complaint

 9                 through the date Notice is mailed to the members of this Class.
10               b. Break Premium Class: All current and former non-exempt non-union
11                 employees of any Defendant employed as background talent in

12                 California to whom any Defendant paid premium pay pursuant to Labor

13                 Code section 226.7 or Sections 11 or 12 of the applicable Wage Orders

14                 on the same work day that any Defendant paid them Incentive Pay (as

15                 defined above) during the four years preceding the filing of Plaintiff’s

16                 Complaint through the date Notice is mailed to the members of this

17                 Class.

18               c. Waiting Time Penalty Class: Members of the Overtime Class and

19                 members of the Break Premium Class whose employment by any

20                 Defendant ended at any time during the three years preceding the filing
21                 of Plaintiff’s Complaint through the date Notice is mailed to the

22                 members of this Class.
23               c. Wage Statement Class: Members of the Overtime Class and members of

24                 the Break Premium Class employed by any Defendant at any time during
25                 the one-year period preceding the filing of Plaintiff’s Complaint through
26                 the date Notice is mailed to the members of this Class.

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28                                                   6
                                                COMPLAINT




                                                                                                 Exhibit 1
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 1          28.    This action has been brought and may be properly maintained as a class action

 2 pursuant to the provisions of California Code of Civil Procedure § 382 and other applicable law.

 3          29.    Numerosity: Code of Civil Procedure § 382: members of the Classes are so

 4 numerous that their individual joinder is impracticable. Plaintiff estimates that there are no less

 5 than 50 persons in each of the classes. The precise number of Class members and their addresses
 6 are unknown to Plaintiff. However, Plaintiff is informed and believes that the number can be
 7 obtained from Defendants’ records. Class members may be notified of the pendency of this

 8 action by mail, electronic mail, the Internet, or published notice.

 9          30.    Existence of Predominance of Common Questions of Fact and Law: Code of

10 Civil Procedure § 382: Common questions of law and fact exist as to all members of the Class.

11 These questions predominate over any questions effecting only individual members of the class.

12 These common factual and legal questions include:

13                 (a) Whether Defendants’ failure to factor non-discretionary remuneration, such as

14                     shift differentials and other forms of compensation paid to class members, into

15                     the payment of overtime wages violated Labor Code § 510 and the applicable

16                     IWC Wage Orders;

17                 (b) Whether Defendants’ failure to factor non-discretionary remuneration, such as

18                     shift differentials and other forms of compensation paid to class members, into

19                     the payment of premium wages for break violations violated Labor Code §

20                     226.7(c) and the applicable IWC Wage Orders;

21                 (c) Whether Defendants failed to provide class members who ceased employment

22                     with Defendants all wages owed at the time of the cessation of the employee-

23                     employer relationship;

24                 (d) Whether Defendants committed unlawful business practices or acts within the

25                     meaning of Business & Professions Code Sects. 17200 et seq.;

26                 (e) Whether, as a consequence of Defendants’ unlawful conduct, the members of

27                     the Classes are entitled to restitution, and/or equitable relief;

28                                                     7
                                                 COMPLAINT




                                                                                                 Exhibit 1
                                                                                                  Page 13
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 1                 (f) Whether Defendants’ affirmative defenses, if any, raise any common issues of

 2                     law or fact as to Plaintiff and the class members as a whole.

 3          31.    Typicality: Plaintiff’s claims are typical of the claims of the members of each

 4 Class because Plaintiff, as an hourly paid employee, was exposed to the same unlawful business

 5 practices as the members of the classes. Plaintiff sustained the same types of injuries and losses
 6 that the class members sustained. Plaintiff is subject to the same affirmative defenses as the
 7 members of the class.

 8          32.    Adequacy:      Plaintiff will adequately and fairly protect the interests of the

 9 members of the Classes.       Plaintiff has no interest adverse to the interests of absent Class
10 members. Plaintiff is represented by legal counsel who has substantial class action experience in

11 civil litigation and employment law.

12          33.    Superiority: A class action is superior to other available means for fair and

13 efficient adjudication of the claims of the Classes and would be beneficial for the parties and the
14 court. Class action treatment will allow a large number of similarly situated persons to prosecute

15 their common claims in a single forum, simultaneously, efficiently, and without the unnecessary

16 duplication of effort and expense that numerous individual actions would require. The monetary

17 amounts due to many individual Class members are likely to be relatively small, and the burden

18 and expense of individual litigation would make it difficult or impossible for individual members

19 of the Class to seek and obtain relief. A class action will serve an important public interest by

20 permitting such individuals to effectively pursue recovery of the sums owed to them. Further,
21 class litigation prevents the potential for inconsistent or contradictory judgments raised by

22 individual litigation.
23                                   FIRST CAUSE OF ACTION

24   FAILURE TO PAY ALL PREMIUMS FOR MEAL AND REST PERIOD VIOLATIONS
25                 (By Plaintiff and the Break Premium Class against Defendants)
26          34.    Plaintiff re-alleges and incorporates by reference the foregoing allegations as

27 though set forth herein.
28                                                    8
                                                COMPLAINT




                                                                                                 Exhibit 1
                                                                                                  Page 14
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 1         35.     At all relevant times, Plaintiff and the other members of the Break Premium Class

 2 were employees of one or more Defendants covered by Labor Code Section 226.7 and the

 3 applicable Wage Orders, including Wage Order 12.

 4         36.     Pursuant to Labor Code Section 226.7 and Wage Order 12, Plaintiff and the other

 5 members of the Break Premium Class were entitled to rest periods of at least 10 minutes for each
 6 four-hour period of work, or major fraction thereof, and one hour of additional pay (i.e.,
 7 premium) for every day a required rest period was not provided.

 8         37.     Pursuant to Labor Code Sections 226.7 and 512, and Wage Order 12, Plaintiff and

 9 the other members of the Break Premium Class were entitled to a meal period of at least 30
10 minutes for each workday they worked more than 5 hours in any workday, and one additional

11 hour of pay (i.e., premium) for every day that a timely meal period was not provided.

12         38.     When one or more Defendants failed to allow Plaintiff and other members of the

13 Break Premium Class to take their meal and/or rest periods in accordance with Labor Code
14 Section 226.7 and Wage Order 12, one ore mor Defendants maintained a policy or practice of

15 paying break premiums at amounts that only included “base hourly wages” and did not factor in

16 Incentive Pay earned for an hour’s work owed to members of the Break Premium Class as

17 required by Labor Code Section 226.7 and Wage Order 12.

18         39.     During the period in which one or more Defendants did not provide Plaintiff and

19 members of the Break Premium Class all compliant rest and/or meal periods, one ore more

20 Defendants failed to provide Plaintiff and other members of the Break Premium Class the
21 additional hour of pay required by Labor Code Section 226.7 and Wage Order 12.

22         40.     As a result of one or more Defendants’ unlawful conduct, Plaintiff and other

23 members of the Break Premium Class have suffered damages in an amount, subject to proof, to

24 the extent they were not paid all premiums owed for meal and rest period violations.
25         41.     Pursuant to Labor Code Section 218, Plaintiff and other members of the Break

26 Premium Class are entitled to recover the full amount of their unpaid additional pay for meal and

27 rest period violations. Pursuant to Labor Code Section 218.5, Plaintiff and other members of the
28                                                  9
                                               COMPLAINT




                                                                                               Exhibit 1
                                                                                                Page 15
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 1 Break Premium Class are entitled to recover their reasonable attorney’s fees and costs of suit.

 2 Pursuant to Labor Code Section 218.6 or Civil Code Section 3287(a), Plaintiff and other

 3 members of the Break Premium Class are entitled to recover prejudgment interest on the

 4 additional pay owed for meal and rest period violations.

 5                                   SECOND CAUSE OF ACTION

 6                          FAILURE TO PAY ALL OVERTIME WAGES
 7                                   (Cal. Labor Code §§ 510, 1194)

 8                     (By Plaintiff and the Overtime Class against Defendants)

 9          42.     Plaintiff realleges and incorporates by reference all of the foregoing paragraphs,

10 as though they are set forth in full.

11          43.     Pursuant to Labor Code Sections 510, 1194 and Subsection 3(D) of Wage Order

12 12-2001, require an employer to pay an employee one and one-half (1½) times such employee’s

13 regular rate of pay for work in excess of eight hours in a day. See Wage Order 12(3)(d)
14 (specifically providing for “One and one-half (1½) times the extra player’s rate of pay for the

15 ninth (9th) and tenth (10th) work hours of employment and not less than double the extra

16 player’s rate of pay for all hours worked thereafter”).

17          44.     Plaintiff is informed and believes, and based thereon, alleges that one ore more

18 Defendants regularly and systematically, as a policy and practice, miscalculated the overtime and

19 double time rates of pay by failing to properly include the various forms of Incentive Pay paid to

20 Plaintiff and members of the Overtime Class, such as the $10 “SMOKE WORK” payment
21 promised to Plaintiff and others and the $10 “HAIR” payment paid to Plaintiff and others, which

22 are not statutory exclusions when calculating an employee’s regular rate of pay. Rather, Plaintiff
23 and members of the Overtime Class were only paid one and one-half times their base rate, which

24 was not equal to the regular rate, as one ore more Defendants failed to include the various forms
25 of Incentive Pay earned during corresponding periods that were required to be included in the
26 regular rate, but were not.

27          45.     At least one Defendant’s policy and practice of requiring overtime work but not

28                                                   10
                                                COMPLAINT




                                                                                                 Exhibit 1
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 1 paying at the proper overtime and double time rates for said work violates Labor Code Section

 2 510 and the applicable California Wage Orders.

 3          46.     As a result of the unlawful acts of Defendants, Plaintiff and the members of the

 4 Overtime Class she seeks to represent have been deprived of overtime wages in amounts to be

 5 determined at trial, and are entitled to recovery of such amounts, plus interest thereon, attorneys’
 6 fees, and costs.
 7                                    THIRD CAUSE OF ACTION

 8         FAILURE TO PAY ALL WAGES DUE AND OWING ON SEPARATION OF

 9                                          EMPLOYMENT
10                                   (Cal. Labor Code §§ 201.5, 203)
11                (By Plaintiff and the Waiting Time Penalty Class against Defendants)

12          47.     Plaintiff realleges and incorporates by reference all of the foregoing paragraphs,

13 as though they are set forth in full.
14          48.     Plaintiff and the other members of the Waiting Time Penalty Class were

15 employees of one ore more Defendants covered by Labor Code Sections 201.5 whose

16 employment with Defendants ended during the relevant class period.

17          49.     Labor Code Section 201.5 provides “An employee engaged in the production or

18 broadcasting of motion pictures whose employment terminates is entitled to receive payment of

19 the wages earned and unpaid at the time of the termination by the next regular payday.”

20          50.     As alleged above, one ore more Defendants failed to pay Plaintiff and other

21 members of the Waiting Time Penalty Class all wages earned and unpaid prior to termination,

22 including all overtime and premium wages due at the time of the cessation of the employee-
23 employer relationship in accordance with Labor Code Section 201.5. Plaintiff is informed and

24 believes and thereon alleges that at all relevant times within the applicable limitations period,
25 one or more Defendants maintained and continue to maintain a policy or practice of not paying
26 terminated employees all their final wages, including all overtime wages and premium wages,

27 earned before termination due under Labor Code Section 201.5.
28                                                   11
                                                COMPLAINT




                                                                                                  Exhibit 1
                                                                                                   Page 17
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 1          51.    At least one Defendant’s failure to pay Plaintiff and members of the Waiting

 2 Time Penalty Class all wages earned prior to termination in accordance with Labor Code Section

 3 201.5 was willful. At least one Defendant had the ability to pay all wages earned by employees

 4 prior to termination in accordance with Labor Code Section 201.5, but intentionally adopted

 5 policies or practices incompatible with the requirements of Labor Code Section 201.5.
 6          52.    Pursuant to Labor Code Section 201.5, Plaintiff and other members of the Waiting

 7 Time Penalty Class are entitled to all wages earned prior to termination that Defendants failed to

 8 pay them.

 9          53.    Pursuant to Labor Code Section 203, Plaintiff and other members of the Waiting

10 Time Penalty Class are entitled to continuation of their wages, from the day their earned and

11 unpaid wages were due upon termination until paid, up to a maximum of 30 days.

12          54.    As a result of one or more of Defendants’ conduct, Plaintiff and other members of

13 the Waiting Time Penalty Class have suffered damages in an amount, subject to proof, to the
14 extent they were not paid for all wages earned prior to termination.

15          55.    As a result of one or more of Defendants’ conduct, Plaintiff and members of the

16 Waiting Time Penalty Class have suffered damages in an amount, subject to proof, to the extent

17 they were not paid all continuation wages owed under Labor Code Section 203.

18          56.    Pursuant to Labor Code Sections 218 and 218.5, Plaintiff and other members of

19 the Waiting Time Penalty Class are entitled to recover the full amount of their unpaid wages,

20 continuation wages under Labor Code Section 203, reasonable attorney’s fees and costs of suit.
21 Pursuant to Labor Code Section 218.6 or Civil Code Section 3287(a), Plaintiff and other

22 members of the Waiting Time Penalty Class are entitled to recover prejudgment interest on the
23 amount of their unpaid wages and unpaid continuation wages.

24
25
26

27
28                                                  12
                                               COMPLAINT




                                                                                                Exhibit 1
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 1                                  FOURTH CAUSE OF ACTION

 2                 FAILURE TO PROVIDE ACCURATE WAGE STATEMENTS

 3                                         (Labor Code § 226)

 4                 (By Plaintiff and the Wage Statement Class against Defendants)

 5          57.     Plaintiff realleges and incorporates by reference all of the foregoing paragraphs,

 6 as though they are set forth in full.
 7          58.     Labor Code § 226(a) sets forth reporting requirements for employers when they

 8 pay wages, including in relevant part: “Every employer shall … at the time of each payment of

 9 wages, furnish each of his or her employees … an itemized statement in writing showing (1)
10 gross wages earned, (2) total hours worked by the employee, … (5) net wages earned, ….”

11 Labor Code § 226(e)(1) provides: “An employee suffering injury as a result of a knowing and

12 intentional failure by an employer to comply with subdivision (a) is entitled to recover the

13 greater of all actual damages or fifty dollars ($50) for the initial pay period in which a violation
14 occurs and one hundred dollars ($100) per employee for each violation in a subsequent pay

15 period, not exceeding an aggregate penalty of four thousand dollars ($4,000) per employee, and

16 is entitled to an award of costs and reasonable attorneys’ fees.”

17          59.     Labor Code § 226(e)(2)(B)(iii) provides: “An employee is deemed to suffer injury

18 for purposes of this subdivision if the employer fails to provide accurate and complete

19 information as required by any one or more of items (1) to (9), inclusive, of subdivision (a) and

20 the employee cannot promptly and easily determine from the wage statement alone one or more
21 of the following: (i) The amount of the gross wages or net wages paid to the employee during the

22 pay period or any of the other information required to be provided on the itemized wage
23 statement pursuant to items (2) to (4), inclusive, (6) and (9) of subdivision (a) … (iii) The name

24 and address of the employer….”
25          60.     Throughout the period applicable to this cause of action, one or more Defendants

26 knowingly and intentionally failed to furnish, and continue to knowingly and intentionally fail to

27 furnish, to Plaintiff and other members of the Wage Statement Class, itemized statements
28                                                   13
                                                COMPLAINT




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 1 accurately showing the required information, including but not limited to all wages earned and

 2 correct applicable hourly rates of pay.

 3          61.     Plaintiff and the other members of the Wage Statement Class suffered injury by

 4 these failures because, among other things, they could not determine from the wage statement

 5 alone their total wages and correct hourly rates.
 6          62.     Plaintiff and the other Wage Statement Class members are entitled to the amounts

 7 provided for in Labor Code § 226(e), plus costs of suit.

 8          63.     Pursuant to Civil Code § 3287(a), Plaintiff and the other members of the Wage

 9 Statement Class are entitled to recover prejudgment interest on the amount of their § 226(e)
10 remedies. Pursuant to Code of Civil Procedure Section 1021.5, the substantial benefit doctrine,

11 and/or the common fund doctrine, Plaintiff and other members of the Class are entitled to

12 recover their attorney’s fees.

13                                    FIFTH CAUSE OF ACTION

14 FOR RESTITUTION OF UNDERPAYMENT OF OVERTIME AND PREMIUM WAGES

15      PURSUANT TO BUSINESS & PROFESSIONS CODE SECTIONS 17200 ET SEQ.

16                                     (UNFAIR COMPETITION)

17                          (By Plaintiff and the Classes against Defendants)

18          64.     Plaintiff realleges and incorporates by reference all of the foregoing paragraphs,

19 as though they are set forth in full.

20          65.     Beginning at an exact date unknown to Plaintiff, one or more Defendants engaged

21 in unfair competition as defined in California Business and Professions Code section 17200.

22          66.     Section 17200 provides a private cause of action for any “unlawful, unfair or

23 fraudulent business practice and unfair, deceptive, untrue or misleading advertising.”

24          67.     At all times relevant to this action, Plaintiff and other members of the Classes

25 were employees of one or more Defendants entitled to the benefits of Labor Code sections 201-
26 203, 226.7, 510 and 1194.

27          68.     During the relevant time period, one or more Defendants intentionally and

28                                                     14
                                                COMPLAINT




                                                                                                 Exhibit 1
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 1 willfully failed to pay Plaintiff and other members of the Overtime Class their overtime wages at

 2 the rate of pay required by law. Accordingly, Plaintiff and other members of the Overtime Class

 3 did not receive the full amount of overtime and double time that they were entitled to receive by

 4 law.

 5         69.     During the relevant time period, one or more Defendants intentionally and

 6 willfully failed to pay Plaintiff and other members of the Break Premium Class their meal and
 7 rest break premium wages at the rate of pay required by law. Accordingly, Plaintiff and other

 8 members of the Break Premium Class did not receive the full amount of premium wages that

 9 they were entitled to receive by law.
10         70.     During the relevant time period, one or more Defendants intentionally and

11 willfully failed to pay Plaintiff and other members of the Waiting Time Penalty Class the full

12 amount of their overtime wages and/or premium wages upon the separation of employment by

13 one or more Defendants and, thereafter, failed to pay waiting time penalties pursuant to Labor
14 Code section 203 to the members of the Waiting Time Penalty Class. Accordingly, Plaintiff and

15 members of the Waiting Time Penalty Class did not receive all of the wages they were entitled to

16 receive by law.

17         71.     The unlawful conduct of one or more Defendants alleged herein constitutes unfair

18 competition within the meaning of Business and Professions Code section 17200. Due to its

19 unlawful and unfair business practices in violation of the Labor Code, Defendants have gained a

20 competitive advantage over other comparable companies doing business in the State of
21 California that comply with their obligations under the Labor Code.

22         72.     As a result of one or more of Defendants’ unfair competition as alleged herein,

23 Plaintiff and other members of the Classes have suffered injury in fact and lost money or

24 property. Plaintiff and members of the Classes have been deprived of their rights to all overtime
25 and double time wages owed to them, additional premium wages for meal and rest period
26 violations; and/or timely payment of all earned wages due upon termination of employment.

27         73.     Pursuant to Business and Professions Code section 17203, Plaintiff and other

28                                                  15
                                               COMPLAINT




                                                                                               Exhibit 1
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1 members of the Classes are entitled to restitution of the amount of overtime pay by which one or

2 more Defendants underpaid them, the amount of the premium wages by which Defendants

3 underpaid them, and to their reasonable attorneys’ fees and costs under Code of Civil Procedure

4 section 1021.5.

5                                     PRAYER FOR RELIEF

6         WHEREFORE, Plaintiff on behalf of herself and all others similarly situated, prays for
7 relief and judgment against Defendants as follows:

8                                   CLASS CERTIFICATION:

9         1.     An order that the action be certified as a class action;
10        2.     An order that Plaintiff be certified as the representative of the Classes;
11        3.     An order that counsel for Plaintiff be confirmed as Class counsel;

12                            ON THE FIRST CAUSE OF ACTION:

13        1.     Damages for underpaid premiums for meal and rest period violations;
14        2.     Prejudgment interest;

15                          ON THE SECOND CAUSE OF ACTION:

16        1.     Damages for underpaid overtime wages;

17        2.     Prejudgment interest;

18                           ON THE THIRD CAUSE OF ACTION:

19        1.     Damages for unpaid wages earned prior to termination of employment;

20        2.     Damages for unpaid continuation wages owed for failing to pay all earned wages
21               timely upon termination of employment;

22        3.     Prejudgment interest;
23                          ON THE FOURTH CAUSE OF ACTION:

24        1.     Damages for inaccurate wage statements for each pay period;

25        2.     Prejudgment interest;

26

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28                                                  16
                                               COMPLAINT




                                                                                              Exhibit 1
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 1                              ON THE FIFTH CAUSE OF ACTION:

 2         1.     Restitution of all underpayment of overtime wages by Defendants to Plaintiff and

 3                members of the Overtime Class;

 4         2.     Restitution of all underpayment of premium wages by Defendants to Plaintiff and

 5                members of the Break Premium Class;

 6         3.     Prejudgment interest;
 7                                 ON ALL CAUSES OF ACTION:

 8         1.     Judgment in favor of Plaintiff and the putative Classes and against Defendants;

 9         2.     Reasonable attorney’s fees;
10         3.     Costs of suit; and
11         4.     Such other relief as the Court deems just and proper.

12

13
     Dated: May 22, 2023                          KIM LEGAL, APC
14

15

16                                                By:_______________________________________
                                                  Frank H. Kim
17                                                Attorneys for Plaintiff Paul Ward
18

19                                   DEMAND FOR JURY TRIAL

20         Plaintiff demands a trial by jury for herself and the Class on all claims so triable.

21
     Dated: May 22, 2023                          KIM LEGAL, APC
22
23

24                                                By:______________________________________
                                                  Frank H. Kim
25                                                Attorneys for Plaintiff Paul Ward
26

27
28                                                    17
                                                COMPLAINT




                                                                                                   Exhibit 1
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             EXHIBIT 2




                                                                   Exhibit 2
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                                                                                                                                                   SUM-100
                                          SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                 (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
HOME BOX OFFICE, INC., a foreign corporation; COOLER WATERS PRODUCTIONS, LLC, a
foreign limited liability company; and DOES 1 through 50, inclusive.
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTÁ DEMANDANDO EL DEMANDANTE):
PAUL WARD, individually and on behalf of other persons similarly situated.
NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
continuación.
   Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
quitar su sueldo, dinero y bienes sin más advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                   CASE NUMBER: (Número del Caso):
(El nombre y dirección de la corte es): Stanley Mosk Courthouse
Superior Court of California, County of Los Angeles
111 N. Hill St., Los Angeles, CA 90012
The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (El nombre, la dirección y el número
de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
Frank H. Kim; Kim Legal, APC, 3435 Wilshire Blvd., Suite 2700, Los Angeles, CA 90010; (323) 482-3300
DATE:                                                                          Clerk, by                                          , Deputy
(Fecha)                                                                        (Secretario)                                       (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010).)
                                 NOTICE TO THE PERSON SERVED: You are served
 [SEAL]
                                     1.         as an individual defendant.
                                     2.         as the person sued under the fictitious name of (specify):

                                     3.         on behalf of (specify):
                                          under:        CCP 416.10 (corporation)                                  CCP 416.60 (minor)
                                                        CCP 416.20 (defunct corporation)                          CCP 416.70 (conservatee)
                                                        CCP 416.40 (association or partnership)                   CCP 416.90 (authorized person)
                                                        other (specify):
                                     4.          by personal delivery on (date)                                                                        Page 1 of 1
Form Adopted for Mandatory Use
Judicial Council of California
                                                                     SUMMONS                                                 Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                 www.courts.ca.gov
SUM-100 [Rev. July 1, 2009]




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             EXHIBIT 3




                                                                   Exhibit 3
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                                                                                                                                                                   CM-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                       FOR COURT USE ONLY




         TELEPHONE NO.:                                       FAX NO.:
 ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF
       STREET ADDRESS:
       MAILING ADDRESS:
      CITY AND ZIP CODE:

          BRANCH NAME:
     CASE NAME:
  Ward v. Home Box Office, Inc., et al.
                                                                                                                CASE NUMBER:
       CIVIL CASE COVER SHEET                                     Complex Case Designation
         Unlimited         Limited
         (Amount           (Amount                     Counter              Joinder
                                                                                         JUDGE:
         demanded          demanded is          Filed with first appearance by defendant
         exceeds $25,000)  $25,000 or less)          (Cal. Rules of Court, rule 3.402)    DEPT:

                              Items 1–6 below must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:
      Auto Tort                                           Contract                                       Provisionally Complex Civil Litigation
            Auto (22)                                             Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400–3.403)
            Uninsured motorist (46)                               Rule 3.740 collections (09)                   Antitrust/Trade regulation (03)
     Other PI/PD/WD (Personal Injury/Property                     Other collections (09)                        Construction defect (10)
     Damage/Wrongful Death) Tort                                  Insurance coverage (18)                       Mass tort (40)
           Asbestos (04)                                        Other contract (37)                             Securities litigation (28)
            Product liability (24)                        Real Property                                         Environmental/Toxic tort (30)
            Medical malpractice (45)                            Eminent domain/Inverse                          Insurance coverage claims arising from the
            Other PI/PD/WD (23)                                 condemnation (14)                               above listed provisionally complex case
                                                                Wrongful eviction (33)                          types (41)
      Non-PI/PD/WD (Other) Tort
            Business tort/unfair business practice (07)      Other real property (26)                    Enforcement of Judgment
            Civil rights (08)                           Unlawful Detainer                                       Enforcement of judgment (20)
            Defamation (13)                                  Commercial (31)                             Miscellaneous Civil Complaint
            Fraud (16)                                            Residential (32)                              RICO (27)
            Intellectual property (19)                            Drugs (38)                                    Other complaint (not specified above) (42)
            Professional negligence (25)                  Judicial Review                                Miscellaneous Civil Petition
           Other non-PI/PD/WD tort (35)                         Asset forfeiture (05)
                                                                                                                Partnership and corporate governance (21)
      Employment                                                  Petition re: arbitration award (11)
                                                                                                                Other petition (not specified above) (43)
           Wrongful termination (36)                              Writ of mandate (02)
            Other employment (15)                                 Other judicial review (39)
2. This case         is           is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.       Large number of separately represented parties        d.      Large number of witnesses
   b.       Extensive motion practice raising difficult or novel  e.      Coordination with related actions pending in one or more courts
            issues that will be time-consuming to resolve                 in other counties, states, or countries, or in a federal court
   c.       Substantial amount of documentary evidence            f.      Substantial postjudgment judicial supervision

3.    Remedies sought (check all that apply): a.       monetary b.          nonmonetary; declaratory or injunctive relief                             c.         punitive
4.    Number of causes of action (specify): 5
5.    This case         is         is not a class action suit.
6.    If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: May 22, 2023
Frank H. Kim
                                   (TYPE OR PRINT NAME)                                                 (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                             NOTICE
 • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
   under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
   in sanctions.
 • File this cover sheet in addition to any cover sheet required by local court rule.
 • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
   other parties to the action or proceeding.
 • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.                              Page 1 of 2
                                                                                                                    Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
Form Adopted for Mandatory Use
  Judicial Council of California
                                                          CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Administration, std. 3.10
   CM-010 [Rev. July 1, 2007]                                                                                                                             www.courtinfo.ca.gov




                                                                                                                                                         Exhibit 3
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                                                                                                                                       CM-010
                                     INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                            CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provisionally Complex Civil Litigation (Cal.
     Auto (22)–Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
          Damage/Wrongful Death                           Breach of Rental/Lease                         Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (if the                          Contract (not unlawful detainer            Construction Defect (10)
          case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
          motorist claim subject to                       Contract/Warranty Breach–Seller                Securities Litigation (28)
          arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
          instead of Auto)                                Negligent Breach of Contract/                  Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                              Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                           Other Breach of Contract/Warranty                  case type listed above) (41)
Tort                                                 Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                        book accounts) (09)                            Enforcement of Judgment (20)
          Asbestos Property Damage                        Collection Case–Seller Plaintiff                   Abstract of Judgment (Out of
                                                          Other Promissory Note/Collections                        County)
          Asbestos Personal Injury/
                Wrongful Death                                Case                                           Confession of Judgment (non-
     Product Liability (not asbestos or              Insurance Coverage (not provisionally                         domestic relations)
          toxic/environmental) (24)                       complex) (18)                                      Sister State Judgment
     Medical Malpractice (45)                             Auto Subrogation                                   Administrative Agency Award
          Medical Malpractice–                            Other Coverage                                         (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                     Petition/Certification of Entry of
          Other Professional Health Care                  Contractual Fraud                                      Judgment on Unpaid Taxes
                Malpractice                               Other Contract Dispute                             Other Enforcement of Judgment
                                                 Real Property                                                     Case
     Other PI/PD/WD (23)
          Premises Liability (e.g., slip             Eminent Domain/Inverse                          Miscellaneous Civil Complaint
                and fall)                                 Condemnation (14)                              RICO (27)
          Intentional Bodily Injury/PD/WD            Wrongful Eviction (33)                              Other Complaint (not specified
                                                                                                             above) (42)
                (e.g., assault, vandalism)           Other Real Property (e.g., quiet title) (26)
          Intentional Infliction of                                                                          Declaratory Relief Only
                                                          Writ of Possession of Real Property                Injunctive Relief Only (non-
                Emotional Distress                        Mortgage Foreclosure                                     harassment)
          Negligent Infliction of                         Quiet Title
                Emotional Distress                                                                           Mechanics Lien
                                                          Other Real Property (not eminent
          Other PI/PD/WD                                                                                     Other Commercial Complaint
                                                          domain, landlord/tenant, or
                                                                                                                   Case (non-tort/non-complex)
Non-PI/PD/WD (Other) Tort                                 foreclosure)
                                                                                                             Other Civil Complaint
     Business Tort/Unfair Business               Unlawful Detainer                                                (non-tort/non-complex)
         Practice (07)                               Commercial (31)
                                                                                                     Miscellaneous Civil Petition
     Civil Rights (e.g., discrimination,             Residential (32)                                    Partnership and Corporate
         false arrest) (not civil                    Drugs (38) (if the case involves illegal                 Governance (21)
          harassment) (08)                                drugs, check this item; otherwise,             Other Petition (not specified
     Defamation (e.g., slander, libel)                    report as Commercial or Residential)               above) (43)
           (13)                                  Judicial Review                                             Civil Harassment
     Fraud (16)                                      Asset Forfeiture (05)                                   Workplace Violence
     Intellectual Property (19)                      Petition Re: Arbitration Award (11)                     Elder/Dependent Adult
     Professional Negligence (25)                    Writ of Mandate (02)                                          Abuse
         Legal Malpractice                                Writ–Administrative Mandamus                       Election Contest
         Other Professional Malpractice                   Writ–Mandamus on Limited Court                     Petition for Name Change
              (not medical or legal)                          Case Matter                                    Petition for Relief From Late
      Other Non-PI/PD/WD Tort (35)                        Writ–Other Limited Court Case                            Claim
Employment                                                    Review                                         Other Civil Petition
     Wrongful Termination (36)                       Other Judicial Review (39)
     Other Employment (15)                                Review of Health Officer Order
                                                          Notice of Appeal–Labor
                                                             Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                              Page 2 of 2
                                                     CIVIL CASE COVER SHEET


                                                                                                                               Exhibit 3
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 SHORT TITLE                                                                                                                CASE NUMBER
Ward v. Home Box Office, Inc., et al.


                                       CIVIL CASE COVER SHEET ADDENDUM AND STATEMENT OF LOCATION
                                             (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

                  This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court

Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.
Step 2: In Column B, check the box for the type of action that best describes the nature of the case.
Step 3: In Column C, circle the number which explains the reason for the court filing location you have chosen.


                                               Applicable Reasons for Choosing Courthouse Location (Column C)
 1.               Class Actions must be filed in the Stanley Mosk Courthouse, Central District.        7.   Location where petitioner resides.

 2.               Permissive filing in Central District.                                               8.   Location wherein defendant/respondent functions wholly.

 3.               Location where cause of action arose.                                                9.   Location where one or more of the parties reside.

 4.               Location where bodily injury, death or damage occurred.                              10. Location of Labor Commissioner Office.

 5.                Location where performance required, or defendant resides.                          11. Mandatory filing location (Hub Cases – unlawful detainer, limited
                                                                                                           non-collection, limited collection).
 6.                 Location of property or permanently garaged vehicle.




                                                A                                                        B                                                      C
                                        Civil Case Cover                                           Type of Action                                           Applicable
                                        Sheet Case Type                                           (check only one)                                        Reasons (see
                                                                                                                                                          Step 3 above)
                                            Auto (22)          ☐ 2201 Motor Vehicle – Personal Injury/Property Damage/Wrongful                                 1, 4
  Auto Tort




                                                               Death
                                        Uninsured Motorist     ☐ 4601 Uninsured Motorist – Personal Injury/Property                                              1, 4
                                               (46)            Damage/Wrongful Death
                                          Other Personal       ☐ 2301 Premise Liability (e.g., dangerous conditions of property,                                 1, 4
                                         Injury/ Property      slip/trip and fall, dog attack, etc.)
  Other Personal Injury/ Property




                                        Damage/ Wrongful
    Damage/ Wrongful Death




                                            Death (23)         ☐ 2302 Intentional Bodily Injury/Property Damage/Wrongful Death                                   1, 4
                                                               (e.g., assault, battery, vandalism, etc.)

                                                               ☐ 2303 Intentional Infliction of Emotional Distress                                               1, 4

                                                               ☐ 2304 Other Personal Injury/Property Damage/Wrongful Death                                       1, 4

                                                               ☐ 2305 Elder/Dependent Adult Abuse/Claims Against Skilled Nursing                                 1, 4
                                                               Facility

                                                               ☐ 2306 Intentional Conduct – Sexual Abuse Case (in any form)                                      1, 4



LASC CIV 109 Rev. 01/23                                      CIVIL CASE COVER SHEET ADDENDUM                                                        LASC Local Rule 2.3
For Mandatory Use                                              AND STATEMENT OF LOCATION

                                                                                                                                                         Exhibit 3
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 SHORT TITLE                                                                                         CASE NUMBER
Ward v. Home Box Office, Inc., et al.


                                   A                                                 B                                            C
                           Civil Case Cover                                    Type of Action                                 Applicable
                           Sheet Case Type                                    (check only one)                              Reasons (see
                                                                                                                            Step 3 above)
                                                   ☐ 2307 Construction Accidents                                                 1, 4
                                                   ☐ 2308 Landlord – Tenant Habitability (e.g., bed bugs, mold, etc.)            1, 4
                          Product Liability (24)   ☐ 2401 Product Liability (not asbestos or toxic/ environmental)               1, 4
 Other Personal Injury/
  Property Damage/
    Wrongful Death




                                                                                                                                1, 3, 5
                                                   ☐ 2402 Product Liability – Song-Beverly Consumer Warranty Act (CA
                                                   Civil Code §§1790-1795.8) (Lemon Law)
                          Medical Malpractice      ☐ 4501 Medical Malpractice – Physicians & Surgeons                            1, 4
                                 (45)
                                                   ☐ 4502 Other Professional Health Care Malpractice                             1, 4
                           Business Tort (07)      ☐ 0701 Other Commercial/Business Tort (not fraud or breach of                1, 2, 3
 Damage/Wrongful Death




                                                   contract)
                            Civil Rights (08)      ☐ 0801 Civil Rights/Discrimination                                           1, 2, 3
    Injury/Property
     Non-Personal




                            Defamation (13)        ☐ 1301 Defamation (slander/libel)                                            1, 2, 3
          Tort




                               Fraud (16)          ☐ 1601 Fraud (no contract)                                                   1, 2, 3
                             Professional          ☐ 2501 Legal Malpractice                                                     1, 2, 3
                            Negligence (25)
                                                   ☐ 2502 Other Professional Malpractice (not medical or legal)                 1, 2, 3
                               Other (35)          ☐ 3501 Other Non-Personal Injury/Property Damage Tort                        1, 2, 3
                              Wrongful             ☐ 3601 Wrongful Termination                                                  1, 2, 3
 Employment




                           Termination (36)
                          Other Employment         ☐
                                                   ✔ 1501 Other Employment Complaint Case                                       1, 2, 3
                                 (15)
                                                   ☐ 1502 Labor Commissioner Appeals                                              10
                          Breach of Contract /     ☐ 0601 Breach of Rental/Lease Contract (not unlawful detainer or              2, 5
                             Warranty (06)         wrongful eviction)
                            (not insurance)
                                                   ☐ 0602 Contract/Warranty Breach – Seller Plaintiff (no                        2, 5
                                                   fraud/negligence)
                                                   ☐ 0603 Negligent Breach of Contract/Warranty (no fraud)                      1, 2, 5
                                                   ☐ 0604 Other Breach of Contract/Warranty (no fraud/ negligence)             1, 2, 5
 Contract




                                                   ☐ 0605 Breach of Rental/Lease Contract (COVID-19 Rental Debt)                 2, 5
                            Collections (09)       ☐ 0901 Collections Case – Seller Plaintiff                                  5, 6, 11
                                                   ☐ 0902 Other Promissory Note/Collections Case                                 5, 11
                                                   ☐ 0903 Collections Case – Purchased Debt (charged off consumer debt         5, 6, 11
                                                   purchased on or after January 1, 2014)
                                                   ☐ 0904 Collections Case – COVID-19 Rental Debt                                5, 11
                          Insurance Coverage       ☐ 1801 Insurance Coverage (not complex)                                     1, 2, 5, 8
                                 (18)



LASC CIV 109 Rev. 01/23                            CIVIL CASE COVER SHEET ADDENDUM                                      LASC Local Rule 2.3
For Mandatory Use                                    AND STATEMENT OF LOCATION

                                                                                                                           Exhibit 3
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 Ward v. Home Box Office, Inc., et al.


                                           A                                              B                                        C
                                   Civil Case Cover                                 Type of Action                            Applicable
                                   Sheet Case Type                                 (check only one)                         Reasons (see
                                                                                                                            Step 3 above)
                                  Other Contract (37)   ☐ 3701 Contractual Fraud                                               1, 2, 3, 5
                (Continued)
 Contract




                                                        ☐ 3702 Tortious Interference                                           1, 2, 3, 5
                                                        ☐ 3703 Other Contract Dispute (not breach/insurance/fraud/            1, 2, 3, 8, 9
                                                        negligence)
                                  Eminent Domain/       ☐ 1401 Eminent Domain/Condemnation                                        2, 6
                                       Inverse                                               Number of Parcels _________
                                 Condemnation (14)
 Real Property




                                  Wrongful Eviction     ☐ 3301 Wrongful Eviction Case                                             2, 6
                                         (33)
                                     Other Real         ☐ 2601 Mortgage Foreclosure                                               2, 6
                                    Property (26)       ☐ 2602 Quiet Title                                                        2, 6
                                                        ☐ 2603 Other Real Property (not eminent domain,                           2, 6
                                                        landlord/tenant, foreclosure)
                                  Unlawful Detainer     ☐ 3101 Unlawful Detainer – Commercial (not drugs or wrongful             6, 11
                                  – Commercial (31)     eviction)
 Unlawful Detainer




                                  Unlawful Detainer     ☐ 3201 Unlawful Detainer – Residential (not drugs or wrongful            6, 11
                                  – Residential (32)    eviction)
                                  Unlawful Detainer     ☐ 3401 Unlawful Detainer – Post Foreclosure                             2, 6, 11
                                  – Post Foreclosure
                                         (34)
                                  Unlawful Detainer     ☐ 3801 Unlawful Detainer – Drugs                                        2, 6, 11
                                     – Drugs (38)
                                   Asset Forfeiture     ☐ 0501 Asset Forfeiture Case                                            2, 3, 6
                                         (05)
                                      Petition re       ☐ 1101 Petition to Compel/Confirm/Vacate Arbitration                      2, 5
                                   Arbitration (11)
 Judicial Review




                                   Writ of Mandate      ☐ 0201 Writ – Administrative Mandamus                                     2, 8
                                         (02)           ☐ 0202 Writ – Mandamus on Limited Court Case Matter                        2
                                                        ☐ 0203 Writ – Other Limited Court Case Review                              2
                                    Other Judicial      ☐ 3901 Other Writ/Judicial Review                                         2, 8
                                     Review (39)
                                                        ☐ 3902 Administrative Hearing                                             2, 8

                                                        ☐ 3903 Parking Appeal                                                     2, 8

                                   Antitrust/Trade      ☐ 0301 Antitrust/Trade Regulation                                       1, 2, 8
 Provisionally




                                   Regulation (03)
   Litigation
   Complex




                                    Asbestos (04)       ☐ 0401 Asbestos Property Damage                                          1, 11

                                                        ☐ 0402 Asbestos Personal Injury/Wrongful Death                           1, 11


LASC CIV 109 Rev. 01/23                                 CIVIL CASE COVER SHEET ADDENDUM                                 LASC Local Rule 2.3
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                                              A                                            B                                          C
                                      Civil Case Cover                               Type of Action                              Applicable
                                      Sheet Case Type                               (check only one)                           Reasons (see
                                                                                                                               Step 3 above)
                                        Construction        ☐ 1001 Construction Defect                                             1, 2, 3
                                         Defect (10)
 Provisionally Complex




                                      Claims Involving      ☐ 4001 Claims Involving Mass Tort                                      1, 2, 8
                                       Mass Tort (40)
       (Continued)
       Litigation




                                    Securities Litigation   ☐ 2801 Securities Litigation Case                                      1, 2, 8
                                            (28)
                                         Toxic Tort         ☐ 3001 Toxic Tort/Environmental                                       1, 2, 3, 8
                                    Environmental (30)
                                    Insurance Coverage      ☐ 4101 Insurance Coverage/Subrogation (complex case only)             1, 2, 5, 8
                                        Claims from
                                     Complex Case (41)
                                      Enforcement of        ☐ 2001 Sister State Judgment                                          2, 5, 11
                                       Judgment (20)
 Enforcement of




                                                            ☐ 2002 Abstract of Judgment                                             2, 6
   Judgment




                                                            ☐ 2004 Administrative Agency Award (not unpaid taxes)                   2, 8

                                                            ☐ 2005 Petition/Certificate for Entry of Judgment Unpaid Tax            2, 8

                                                            ☐ 2006 Other Enforcement of Judgment Case                              2, 8, 9
                                         RICO (27)          ☐ 2701 Racketeering (RICO) Case                                        1, 2, 8
 Miscellaneous Civil




                                     Other Complaints       ☐ 4201 Declaratory Relief Only                                         1, 2, 8
    Complaints




                                      (not specified        ☐ 4202 Injunctive Relief Only (not domestic/harassment)                 2, 8
                                        above) (42)
                                                            ☐ 4203 Other Commercial Complaint Case (non-                           1, 2, 8
                                                            tort/noncomplex)
                                                            ☐ 4204 Other Civil Complaint (non-tort/non-complex)                    1, 2, 8
                                       Partnership          ☐ 2101 Partnership and Corporation Governance Case                      2, 8
                                       Corporation
 Miscellaneous Civil Petitions




                                     Governance (21)
                                     Other Petitions        ☐ 4301 Civil Harassment with Damages                                   2, 3, 9
                                      (not specified
                                                            ☐ 4302 Workplace Harassment with Damages                               2, 3, 9
                                       above) (43)
                                                            ☐ 4303 Elder/Dependent Adult Abuse Case with Damages                   2, 3, 9
                                                            ☐ 4304 Election Contest                                                   2
                                                            ☐ 4305 Petition for Change of Name/Change of Gender                     2, 7
                                                            ☐ 4306 Petition for Relief from Late Claim Law                         2, 3, 8
                                                            ☐ 4307 Other Civil Petition                                             2, 9




LASC CIV 109 Rev. 01/23                                     CIVIL CASE COVER SHEET ADDENDUM                                LASC Local Rule 2.3
For Mandatory Use                                             AND STATEMENT OF LOCATION

                                                                                                                              Exhibit 3
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 SHORT TITLE                                                                    CASE NUMBER
 Ward v. Home Box Office, Inc., et al.


Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column
C for the type of action that you have selected. Enter the address, which is the basis for the filing location
including zip code. (No address required for class action cases.)

 REASON:                                                          ADDRESS:
 ☐✔ 1. ☐
       ✔ 2. ☐
            ✔ 3. ☐ 4. ☐ 5. ☐ 6. ☐ 7. ☐ 8. ☐ 9. ☐ 10. ☐ 11


 CITY:                                   STATE:   ZIP CODE:


Step 5: Certification of Assignment: I certify that this case is properly filed in the ____________________
                                                                                            Cengtral
District of the Superior Court of California, County of Los Angeles [Code of Civ. Proc., 392 et seq., and LASC Local
Rule 2.3(a)(1)(E)]

Dated: ___________________
       05/22/2023                                             ____________________________________________
                                                                        (SIGNATURE OF ATTORNEY/FILING PARTY

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY COMMENCE
YOUR NEW COURT CASE:

    1. Original Complaint or Petition.
    2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
    3. Civil Case Cover Sheet Judicial Council form CM-010.
    4. Civil Case Cover Sheet Addendum and Statement of Location form LASC CIV 109 (01/23).
    5. Payment in full of the filing fee, unless there is a court order for waiver, partial or schedule payments.
    6. A signed order appointing a Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or
       petitioner is a minor under 18 years of age will be required by Court to issue a Summons.
    7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this
       addendum must be served along with the Summons and Complaint, or other initiating pleading in the
       case.




LASC CIV 109 Rev. 01/23                  CIVIL CASE COVER SHEET ADDENDUM                         LASC Local Rule 2.3
For Mandatory Use                          AND STATEMENT OF LOCATION

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             EXHIBIT 4




                                                                   Exhibit 4
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                                                                                                 Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Spring Street Courthouse
 312 North Spring Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                  CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 23STCV11666

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                   ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Maren Nelson                       17




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   David W. Slayton, Executive Officer / Clerk of Court
       05/24/2023
    on _____________________________                                         J. Covarrubias
                                                                          By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)       NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06



                                                                                                                             Exhibit 4
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                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06



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                               VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                  The Early Organizational Meeting Stipulation, Discovery
                               Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California
County of Los Angeles
                               voluntary stipulations entered into by the parties. The parties
                               may enter into one, two, or all three of the stipulations;
                               however, they may not alter the stipulations as written,
                               because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                               between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section         manner that promotes economic case resolution and judicial
                               efficiency.

                                  The    following   organizations    endorse    the   goal     of
Consumer Attorneys
Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                               consider using these stipulations as a voluntary way to
                               promote communications and procedures among counsel
                               and with the court to fairly resolve issues in their cases.

                               Los Angeles County Bar Association Litigation Section
Southern California
Defense Counsel

                                          Los Angeles County Bar Association
                                             Labor and Employment Law Section

Association of
Business Trial Lawyers             Consumer Attorneys Association of Los Angeles


                                        Southern California Defense Counsel


                                        Association of Business Trial Lawyers

California Employment
Lawyers Association
                                    California Employment Lawyers Association


   LACIV 230 (NEW)
   LASC Approved 4-11
   For Optional Use


                                                                                             Exhibit 4
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
           STIPULATION – EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the “core” of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered “core.” In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                “core.”);

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229 (Rev 02/15)
      LASC Approved 04/11               STIPULATION – EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                                                                      Page 1 of 2




                                                                                                                     Exhibit 4
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SHORT TITLE:                                                                      CASE NUMBER:




               discussed in the “Alternative Dispute Resolution (ADR) Information Package” served with the
               complaint;

      h. Computation of damages, including documents, not privileged or protected from disclosure, on
         which such computation is based;

      i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               www.lacourt.org under “Civil” and then under “General Information”).

2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
               to ____________________ for the complaint, and ______________________ for the cross-
                        (INSERT DATE)                                       (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lacourt.org under “Civil”,
               click on “General Information”, then click on “Voluntary Efficient Litigation Stipulations”.

3.             The parties will prepare a joint report titled “Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties’
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.

4.             References to “days” mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

The following parties stipulate:
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                                 

                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)


LACIV 229 (Rev 02/15)
LASC Approved 04/11          STIPULATION – EARLY ORGANIZATIONAL MEETING                                  Page 2 of 2
      Print                    Save                                                                     Clear


                                                                                                        Exhibit 4
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             Case 2:23-cv-07838 Document 3 Filed 09/19/23 Page 40 of 112 Page ID #:152
NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
                     STIPULATION – DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.      File a Request for Informal Discovery Conference with the clerk’s office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                     ii.      Include a brief summary of the dispute and specify the relief requested; and

                    iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.      Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASC Approved 04/11                      STIPULATION – DISCOVERY RESOLUTION
      For Optional Use                                                                                                     Page 1 of 3



                                                                                                                     Exhibit 4
                                                                                                                      Page 40
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SHORT TITLE:                                                                   CASE NUMBER:




               iii.   Be filed within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
         be accepted.

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

      e. If the conference is not held within twenty (20) days of the filing of the Request for
         Informal Discovery Conference, unless extended by agreement of the parties and the
         Court, then the Request for the Informal Discovery Conference shall be deemed to have
         been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion to compel or other
   discovery motion is tolled from the date of filing of the Request for Informal Discovery
   Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
   filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
   by Order of the Court.

      It is the understanding and intent of the parties that this stipulation shall, for each discovery
      dispute to which it applies, constitute a writing memorializing a “specific later date to which
      the propounding [or demanding or requesting] party and the responding party have agreed in
      writing,” within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
      2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
   an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
   terminate the stipulation.

8. References to “days” mean calendar days, unless otherwise noted. If the date for performing
   any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
   for performing that act shall be extended to the next Court day.



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For Optional Use                                                                              Page 2 of 3



                                                                                              Exhibit 4
                                                                                               Page 41
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SHORT TITLE:                                                       CASE NUMBER:




The following parties stipulate:

Date:
                                                  
                (TYPE OR PRINT NAME)                            (ATTORNEY FOR PLAINTIFF)
Date:
                                                  
                (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
Date:
                                                  
                (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
Date:
                                                  
                (TYPE OR PRINT NAME)                           (ATTORNEY FOR DEFENDANT)
Date:
                                                  
                (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)
Date:
                                                  
                (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)
Date:
                                                  
                (TYPE OR PRINT NAME)                   (ATTORNEY FOR _____________________________)




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LACIV 036 (new)
LASC Approved 04/11            STIPULATION – DISCOVERY RESOLUTION
For Optional Use                                                                            Page 3 of 3



                                                                                           Exhibit 4
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER                    Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                   CASE NUMBER:
                        INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
                              Request for Informal Discovery Conference
                              Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request: ________________ (insert date 10 calendar days following filing of
             the Request).

      3. Deadline for Court to hold Informal Discovery Conference: ________________ (insert date 20 calendar
             days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094 (new)
      LASC Approved 04/11
                                                  INFORMAL DISCOVERY CONFERENCE
      For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)
             Print                      Save                                                                                      Clear


                                                                                                                           Exhibit 4
                                                                                                                            Page 43
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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
              STIPULATION AND ORDER – MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least ____ days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side’s portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties’ respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



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      LASC Approved 04/11               STIPULATION AND ORDER – MOTIONS IN LIMINE
      For Optional Use                                                                                                     Page 1 of 2



                                                                                                                   Exhibit 4
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SHORT TITLE:                                                   CASE NUMBER:




The following parties stipulate:

Date:
                                                
               (TYPE OR PRINT NAME)                       (ATTORNEY FOR PLAINTIFF)
Date:
                                                
               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:
                                                
               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:
                                                
               (TYPE OR PRINT NAME)                      (ATTORNEY FOR DEFENDANT)
Date:
                                                
               (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)
Date:
                                                
               (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)
Date:
                                                
               (TYPE OR PRINT NAME)                  (ATTORNEY FOR _____________________)



THE COURT SO ORDERS.

  Date:
                                                               JUDICIAL OFFICER




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LACIV 075 (new)
LASC Approved 04/11      STIPULATION AND ORDER – MOTIONS IN LIMINE                   Page 2 of 2



                                                                                  Exhibit 4
                                                                                   Page 45
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                                                                    LOS ANGELES SUPERIOR COURT

 3                                                                          MAY 11 2011
 4                                                                     JOHN A CLAAKE,AL.EAK
                                                                           :"1( j~.YtU1tJ,N
 5                                                                   BY NANCV~AVAARO, DEPUTY

 6

 7                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                           FOR THE COUNTY OF LOS ANGELES
 9
     General Order Re                           )         ORDER PURSUANT TO CCP 1054(a),
10
     Use of Voluntary Efficient Litigation      )         EXTENDING TIME TO RESPOND BY
11   Stipulations                               )         30 DAYS WHEN PARTIES AGREE
                                                )         TO EARLY ORGANIZATIONAL
12                                              )         MEETING STIPULATION
13

14
            Whereas the Los Angeles Superior Court and the Executive Committee of the
15
     Litigation Section of the Los Angeles County Bar Association have cooperated in
16

17
     drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

18   use in general jurisdiction civil litigation in Los Angeles County;

19          Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
     Angeles County Bar Association Labor and Employment Law Section; the Consumer
21
     Attorneys Association of Los Angeles; the Association of Southern California Defense
22

23   Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24   Employment Lawyers Association all "endorse the goal of promoting efficiency in
25
     litigation, and ask that counsel consider using these stipulations as a voluntary way to
26
     promote communications and procedures among counsel and with the court to fairly
27
     resolve issues in their cases;"
28

                                                    -1-

                                0RDER PURSUANT TO CCP 1054(a)



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            Whereas the Early Organizational Meeting Stipulation is intended to encourage

 2   cooperation among the parties at an early stage in litigation in order to achieve

 3   litigation efficiencies;
 4
            Whereas it is intended that use of the Early Organizational Meeting Stipulation
 5
     will promote economic case resolution and judicial efficiency;
 6

 7
            Whereas, in order to promote a meaningful discussion of pleading issues at the

 8   Early Organizational Meeting and potentially to reduce the need for motions to

 9   challenge the pleadings, it is necessary to allow additional time to conduct the Early
10
     Organizational Meeting before the time to respond to a complaint or cross complaint
11
     has expired;
12

13
            Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

14   which an action is pending to extend for not more than 30 days the time to respond to
15
     a pleading "upon good cause shown";
16
            Now, therefore, this Court hereby finds that there is good cause to extend for 30
17
     days the time to respond to a complaint or to a cross complaint in any action in which
18

19   the parties have entered into the Early Organizational Meeting Stipulation. This finding

20   of good cause is based on the anticipated judicial efficiency and benefits of economic
21
     case resolution that the Early Organizational Meeting Stipulation is intended to
22
     promote .
23
            IT IS HEREBY ORDERED that, in any case in which the parties have entered
24

25   into an Early Organizational Meeting Stipulation, the time for a defending party to

26   respond to a complaint or cross complaint shall be extended by the 30 days permitted
27

28

                                                -2-

                                0RDER PURSUANT TO CCP 1054(a)




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,,.

           by Code of Civil Procedure section 1054(a) without further need of a specific court

       2   order.




       :   DATED:   ltu5 ~ Joi/                     Carolyn B. Kuh Supervising Judge of the
                                                    Civil Departments, Los Angeles Superior Court
       6

       7

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                                    0RDER PURSUANT TO CCP 1054(a)




                                                                                                 Exhibit 4
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                          Superior Court of California, County of Los Angeles


                              ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                     INFORMATION PACKAGE
  THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

  CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action with the
  cross-complaint.



What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney’s fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
    • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    • No Public Trial: ADR does not provide a public trial or decision by a judge or jury.

Main Types of ADR
   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with
       a settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person’s concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  • want to work out a solution but need help from a neutral person.
                  • have communication problems or strong emotions that interfere with resolution.

                Mediation may not be appropriate when the parties
                  • want a public trial and want a judge or jury to decide the outcome.
                  • lack equal bargaining power or have a history of physical/emotional abuse.




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For Mandatory Use


                                                                                                          Exhibit 4
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                          How to Arrange Mediation in Los Angeles County

Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

    a. The Civil Mediation Vendor Resource List
       If all parties in an active civil case agree to mediation, they may contact these organizations to
       request a “Resource List Mediation” for mediation at reduced cost or no cost (for selected
       cases).

        •   ADR Services, Inc. Assistant Case Manager Janet Solis, janet@adrservices.com
            (213) 683-1600
        •   Mediation Center of Los Angeles Program Manager info@mediationLA.org
            (833) 476-9145

        These organizations cannot accept every case and they may decline cases at their discretion.
        They may offer online mediation by video conference for cases they accept. Before contacting
        these organizations, review important information and FAQs at www.lacourt.org/ADR.Res.List

        NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate,
        or small claims cases.

    b. Los Angeles County Dispute Resolution Programs. Los Angeles County-funded agencies provide
       mediation services on the day of hearings in small claims, unlawful detainer (eviction), civil
       harassment, and limited civil (collections and non-collection) cases.
       https://dcba.lacounty.gov/countywidedrp/

        Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
        should carefully review the Notice and other information they may receive about (ODR)
        requirements for their case. https://my.lacourt.org/odr/

    c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
   arguments to the person who decides the outcome. In “binding” arbitration, the arbitrator’s
   decision is final; there is no right to trial. In “nonbinding” arbitration, any party can request a trial
   after the arbitrator’s decision. For more information about arbitration, visit
   https://www.courts.ca.gov/programs-adr.htm

4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close
   to the trial date or on the day of trial. The parties and their attorneys meet with a judge or
   settlement officer who does not make a decision but who instead assists the parties in evaluating
   the strengths and weaknesses of the case and in negotiating a settlement. For information about
   the Court’s MSC programs for civil cases, visit https://www.lacourt.org/division/civil/CI0047.aspx

Los Angeles Superior Court ADR website: https://www.lacourt.org/division/civil/CI0109.aspx
For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm



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 5
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6
                                    FOR THE COUNTY OF LOS ANGELES
 7
 8    IN RE LOS ANGELES SUPERIOR COURT )                 FIRST AMENDED GENERAL ORDER
      - MANDATORY ELECTRONIC FILING )
 9    FOR CIVIL                        )
                                                     )
10                                                   )
11    ___________                                    )

12           On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
13    documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
14    Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
15    Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16    All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
17    following:
18    1) DEFINITIONS
19       a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to
20           quickly locate and navigate to a designated point of interest within a document.
21       b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling
22           portal, that gives litigants access to the approved Electronic Filing Service Providers.
23       c) "Electronic Envelope" A transaction through the electronic service provider for submission
24           of documents to the Court for processing which may contain one or more PDF documents
25           attached.
26       d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
27           document in electronic form. (California Rules of Court, rule 2.250(b)(7).)
28


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL




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                                                                                                2019-GEN-O14-00



1        e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a
2           person or entity that receives an electronic filing from a party for retransmission to the Court.
3           In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4           agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
5        f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
6           Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7           (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
8           2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
 9          process attached to or logically associated with an electronic record and executed or adopted
10          by a person with the intent to sign the electronic record.
11       g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12          in a hypertext or hypermedia document to another in the same or different document.
13       h) "Portable Document Format" A digital document format that preserves all fonts,
14          formatting, colors and graphics of the original source document, regardless of the application
15          platform used.
16    2) MANDATORY ELECTRONIC FILING
17       a) Trial Court Records
18          Pursuant to Government Code section 68150, trial court records may be created, maintained,
19          and preserved in electronic format. Any document that the Court receives electronically must
20          be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21          official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22       b) Represented Litigants
23          Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24          electronically file documents with the Court through an approved EFSP.
25       c) Public Notice
26          The Court has issued a Public Notice with effective dates the Court required parties to
27          electronically file documents through one or more approved EFSPs. Public Notices containing
28           effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.


                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL




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                                                                                                  2019-GEN-O 14-00



1          d) Documents in Related Cases
2             Documents in related cases must be electronically filed in the eFiling portal for that case type if
3             electronic filing has been implemented in that case type, regardless of whether the case has
4             been related to a Civil case.
5     3) EXEMPT LITIGANTS
6          a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
7             from mandatory electronic filing requirements.
8          b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
9             Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10            from filing documents electronically and be permitted to file documents by conventional
11            means if the party shows undue hardship or significant prejudice.

12    4) EXEMPT FILINGS
13         a) The following documents shall not be filed electronically:
14            i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                   Civil Procedure sections 170.6 or 170.3;
16            ii)    Bonds/Undertaking documents;
17            iii)   Trial and Evidentiary Hearing Exhibits
18            iv)    Any ex parte application that is filed concurrently with a new complaint including those
19                   that will be handled by a Writs and Receivers department in the Mask courthouse; and
20            v)     Documents submitted conditionally under seal. The actual motion or application shall be
21                   electronically filed. A courtesy copy of the electronically filed motion or application to
22                   submit documents conditionally under seal must be provided with the documents
23                   submitted conditionally under seal.
24         b) Lodgments
25            Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in
26    paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.
27    //
28    //


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL




                                                                                                        Exhibit 4
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                                                                                                 2019-GEN-O14-00



1     5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
2        Electronic filing service providers must obtain and manage registration information for persons
3        and entities electronically filing with the court.
4     6) TECHNICAL REQUIREMENTS
5        a) Electronic documents must be electronically filed in PDF, text searchable format when
6            technologically feasible without impairment of the document's image.
7        b) The table of contents for any filing must be bookmarked.
8        c) Electronic documents, including but not limited to, declarations, proofs of service, and
9            exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10           3.l 110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked
11           item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12           bookedmarked item and briefly describe the item.
13       d) Attachments to primary documents must be bookmarked. Examples include, but are not
14           limited to, the following:
15           i)     Depositions;
16           ii)    Declarations;
17           iii)   Exhibits (including exhibits to declarations);
18           iv)    Transcripts (including excerpts within transcripts);
19           v)     Points and Authorities;
20           vi)    Citations; and
21           vii) Supporting Briefs.
22       e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23           encouraged.
24       f) Accompanying Documents
25           Each document acompanying a single pleading must be electronically filed as a separate
26           digital PDF document.
27       g) Multiple Documents
28           Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                          4
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL




                                                                                                       Exhibit 4
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                                                                                                 2019-GEN-O14-00



1        h) Writs and Abstracts
2           Writs and Abstracts must be submitted as a separate electronic envelope.
3        i) Sealed Documents
4           If and when a judicial officer orders documents to be filed under seal, those documents must be
5           filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6           the documents as sealed at the time of electronic submission is the submitting party's
7           responsibility.
8        j) Redaction
 9          Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10          redact confidential information (such as using initials for names of minors, using the last four
11          digits of a social security number, and using the year for date of birth) so that the information
12          shall not be publicly displayed.
13    7) ELECTRONIC FILING SCHEDULE
14       a) Filed Date
15          i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16              shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17              document received electronically on a non-court day, is deemed to have been effectively
18              filed on the next court day if accepted.   (California Rules of Court, rule 2.253(b)(6); Code
19              Civ. Proc. § 1010.6(b)(3).)
20          ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21              course because of: (1) an interruption in service; (2) a transmission error that is not the
22              fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
23              order, either on its own motion or by noticed motion submitted with a declaration for Court
24              consideration, that the document be deemed filed and/or that the document's filing date
25              conform to the attempted transmission date.
26    8) EX PARTE APPLICATIONS
27       a) Ex parte applications and all documents in support thereof must be electronically filed no later
28          than 10:00 a.m. the court day before· the ex parte hearing.


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL




                                                                                                       Exhibit 4
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                                                                                               2019-GEN-014-00



1        b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2           day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3           application must be provided to the court the day of the ex parte hearing.
4     9) PRINTED COURTESY COPIES
5        a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6           be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If
7           the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8           by 10:00 a.m. the next business day.
9        b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10          electronic submission) is required for the following documents:
11           i)   Any printed document required pursuant to a Standing or General Order;
12          ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13                pages or more;
14         iii)   Pleadings and motions that include points and authorities;
15         iv)    Demurrers;
16          v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17          vi)   Motions for Summary Judgment/Adjudication; and
18         vii)   Motions to Compel Further Discovery.
19       c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20          additional documents. Courtroom specific courtesy copy guidelines can be found at
21          www.lacourt.org on the Civil webpage under "Courtroom Information."
22     0) WAIYER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23       a) Fees and costs associated with electronic filing must be waived for any litigant who has
24           received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc.§
25           1010.6(d)(2).)
26       b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27           section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(t), may be
28           electronically filed in any authorized action or proceeding.

                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL




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                                                                                                2019-GEN-O 14-00




1     1) SIGNATURES ON ELECTRONIC FILING
2        For purposes of this General Order, all electronic filings must be in compliance with California
3        Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
4        Division of the Los Angeles County Superior Court.
5

6            This First Amended General Order supersedes any previous order related to electronic filing,
7     and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
8     Supervising Judge and/or Presiding Judge.
9
10    DATED: May 3, 2019
11
                                                           Presiding Judge
12

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                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL




                                                                                                      Exhibit 4
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             EXHIBIT 5




                                                                   Exhibit 5
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                    Central District, Spring Street Courthouse, Department 17

23STCV11666                                                                            June 7, 2023
PAUL WARD vs HOME BOX OFFICE, INC., et al.                                                9:36 AM


Judge: Honorable Maren Nelson                      CSR: None
Judicial Assistant: Maribel Mata                   ERM: None
Courtroom Assistant: None                          Deputy Sheriff: None

APPEARANCES:
For Plaintiff(s): No Appearances
For Defendant(s): No Appearances




NATURE OF PROCEEDINGS: Court Order re: Complex Designation

By this order, the Court determines this case to be Complex according to Rule 3.400 of the
California Rules of Court. The Clerk’s Office has assigned this case to this department for all
purposes.

Pursuant to Government Code Sections 70616(a) and 70616(b), a single complex fee of one
thousand dollars ($1,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
fee of one thousand dollars ($1,000.00) must be paid for each defendant, intervenor, respondent
or adverse party, not to exceed, for each separate case number, a total of eighteen thousand
dollars ($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
All such fees are ordered to be paid to Los Angeles Superior Court, within ten (10) days of
service of this order.

By this order, the Court stays the case, except for service of the Summons and Complaint. The
stay continues at least until the Initial Status Conference. Initial Status Conference is set for
09/05/2023 at 09:00 AM in this department. At least ten (10) days prior to the Initial Status
Conference, counsel for all parties must discuss the issues set forth in the Initial Status
Conference Order issued this date. Counsel must file a Joint Initial Status Conference Response
Statement five (5) court days before the Initial Status Conference.

The Initial Status Conference Order, served concurrently with this Minute Order, is to help the
Court and the parties manage this complex case by developing an orderly schedule for briefing,
discovery, and court hearings. The parties are informally encouraged to exchange documents and
information as may be useful for case evaluation.

Responsive pleadings shall not be filed until further Order of the Court. Parties must file a Notice
of Appearance in lieu of an Answer or other responsive pleading. The filing of a Notice of
Appearance shall not constitute a waiver of any substantive or procedural challenge to the
                                           Minute Order                                 Page 1 of 3

                                                                                             Exhibit 5
                                                                                              Page 59
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                    Central District, Spring Street Courthouse, Department 17

23STCV11666                                                                             June 7, 2023
PAUL WARD vs HOME BOX OFFICE, INC., et al.                                                 9:36 AM


Judge: Honorable Maren Nelson                       CSR: None
Judicial Assistant: Maribel Mata                    ERM: None
Courtroom Assistant: None                           Deputy Sheriff: None

Complaint. Nothing in this order stays the time for filing an Affidavit of Prejudice pursuant to
Code of Civil Procedure Section 170.6. Nothing in this order stays the filing of an Amended
Complaint pursuant to Labor Code Section 2699.3(a)(2)(C) by a plaintiff wishing to add a
Private Attorney General Act (“PAGA”) claim.

For information on electronic filing in the Complex Courts, please refer to
https://www.lacourt.org/division/efiling/efiling2.aspx#civil. See, in particular, the link therein for
“Complex Civil efiling.” Parties shall file all documents in conformity with the Presiding Judge’s
First Amended General Order of May 3, 2019, particularly including the provisions therein
requiring Bookmarking with links to primary documents and citations; that Order is available on
the Court’s website at the link shown above.

For efficiency in communication with counsel, the complex program requires the parties in every
new case to use an approved third-party cloud service that provides an electronic message board.
In order to facilitate communication with counsel prior to the Initial Status Conference, the
parties must sign-up with the e-service provider at least ten (10) court days in advance of the
Initial Status Conference and advise the Court which provider was selected.

The court has implemented LACourtConnect to allow attorneys, self-represented litigants and
parties to make audio or video appearances in Los Angeles County courtrooms.
LACourtConnect technology provides a secure, safe and convenient way to attend hearings
remotely. A key element of the Court’s Access LACourt YOUR WAY program to provide
services and access to justice, LACourtConnect is intended to enhance social distancing and
change the traditional in-person courtroom appearance model. See
https://my.lacourt.org/laccwelcome for more information.

This Complex Courtroom does not use Los Angeles Superior Court’s Court Reservation (“CRS”)
portal to reserve motion hearing dates. Rather, counsel may secure dates by calling the
Courtroom Assistant at 213-310-70xx with the “xx” being the Department number, e.g. Dept. 1
is 01 and Dept. 10 is 10.

Court reporters are not provided for hearings or trials. The parties should make their own
arrangements for any hearing where a transcript is desired.

If you believe a party or witness will need an interpreter, see the court’s website for information
on how to make such a request in a timely manner. https://www.lacourt.org/irud/UI/index.aspx

Counsel are directed to access the following link for further information on procedures in the
                                          Minute Order                                Page 2 of 3

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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                    Central District, Spring Street Courthouse, Department 17

23STCV11666                                                                           June 7, 2023
PAUL WARD vs HOME BOX OFFICE, INC., et al.                                               9:36 AM


Judge: Honorable Maren Nelson                     CSR: None
Judicial Assistant: Maribel Mata                  ERM: None
Courtroom Assistant: None                         Deputy Sheriff: None

Complex litigation Program courtrooms: https://www.lacourt.org/division/civil/CI0042.aspx.

The plaintiff must serve a copy of this minute order and the attached Initial Status Conference
Order on all parties forthwith and file a Proof of Service in this department within seven (7) days
of service.

Certificate of Mailing is attached.




                                          Minute Order                                 Page 3 of 3

                                                                                            Exhibit 5
                                                                                             Page 61
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                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Spring Street Courthouse
312 North Spring Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
Paul Ward
DEFENDANT/RESPONDENT:
Home Box Office, Inc., et al.

                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              23STCV11666

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Court Order re: Complex
Designation) of 06/07/2023, Initial Status Conference Order upon each party or counsel named below by
placing the document for collection and mailing so as to cause it to be deposited in the United States mail
at the courthouse in Los Angeles, California, one copy of the original filed/entered herein in a separate
sealed envelope to each address as shown below with the postage thereon fully prepaid, in accordance
with standard court practices.




    Frank H Kim
    Helen Kim Law, APC
    3435 Wilshire Blvd., Suite 2700
    Los Angeles, CA 90010




                                                     David W. Slayton, Executive Officer / Clerk of Court
Dated: 06/7/2023                                     By:   M. Mata
                                                           Deputy Clerk




                                      CERTIFICATE OF MAILING

                                                                                                        Exhibit 5
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             EXHIBIT 6




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             EXHIBIT 7




                                                                   Exhibit 7
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                                                                                                                                                POS-015
ATTORNEY OR PARTY WITHOUT ATTORNEY:                     STATE BAR NO:    264609                                        FOR COURT USE ONLY
NAME: Frank H. Kim
FIRM NAME: Kim Legal, APC
STREET ADDRESS: 3435 Wilshire Blvd., Suite 2700
CITY: Los Angeles                                             STATE: CA      ZIP CODE: 90010
TELEPHONE NO.:  (323) 482-3300                               FAX NO. :

E-MAIL ADDRESS: fkim@kim-legal.com

ATTORNEY FOR (Name): Paul Ward

SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
 STREET ADDRESS:       111 N. Hill St.
 MAILING ADDRESS:      111 N. Hill St.
CITY AND ZIP CODE:      Los Angeles 90012
     BRANCH NAME:      Stanley Mosk Courthouse
        Plaintiff/Petitioner: Paul Ward
Defendant/Respondent: Home Box Office, Inc. and Cooler Waters Productions, LLC
                                                                                                        CASE NUMBER:
                NOTICE AND ACKNOWLEDGMENT OF RECEIPT—CIVIL                                              23STCV11666


TO (insert name of party being served): Home Box Office, Inc. and Cooler Waters Productions, LLC

                                                                           NOTICE
     The summons and other documents identified below are being served pursuant to section 415.30 of the California Code of Civil
     Procedure. Your failure to complete this form and return it within 20 days from the date of mailing shown below may subject you
     (or the party on whose behalf you are being served) to liability for the payment of any expenses incurred in serving a summons
     on you in any other manner permitted by law.
     If you are being served on behalf of a corporation, an unincorporated association (including a partnership), or other entity, this
     form must be signed by you in the name of such entity or by a person authorized to receive service of process on behalf of such
     entity. In all other cases, this form must be signed by you personally or by a person authorized by you to acknowledge receipt of
     summons. If you return this form to the sender, service of a summons is deemed complete on the day you sign the
     acknowledgment of receipt below.


Date of mailing: August 4, 2023


                                   Frank H. Kim
                                 (TYPE OR PRINT NAME)                                          (SIGNATURE OF SENDER—MUST NOT BE A PARTY IN THIS CASE)



                                                        ACKNOWLEDGMENT OF RECEIPT
This acknowledges receipt of (to be completed by sender before mailing):

1.     ✖     A copy of the summons and of the complaint.
2.           Other (specify):




(To be completed by recipient):

Date this form is signed:         August 21, 2023


               (TYPE OR PRINT YOUR NAME AND NAME OF ENTITY, IF ANY,                        (SIGNATURE OF PERSON ACKNOWLEDGING RECEIPT, WITH TITLE IF
                      ON WHOSE BEHALF THIS FORM IS SIGNED)                              ACKNOWLEDGMENT IS MADE ON BEHALF OF ANOTHER PERSON OR ENTITY)




                                                                                                                                                    Page 1 of 1

Form Adopted for Mandatory Use                                                                                                          Code of Civil Procedure,
Judicial Council of California
                                         NOTICE AND ACKNOWLEDGMENT OF RECEIPT — CIVIL                                                        §§ 415.30, 417.10
POS-015 [Rev. January 1, 2005]                                                                                                            www.courtinfo.ca.gov
For your protection and privacy, please press the Clear
This Form button after you have printed the form.                     Print this form      Save this form                            Clear this form


                                                                                                                                        Exhibit 7
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                1                                         PROOF OF SERVICE

                2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                3          I am employed in the County of Los Angeles , State of California, I am over the age of
                    eighteen years and am not a party to this action; my business address is Mitchell Silberberg &
                4   Knupp LLP, 2049 Century Park East, 18th Floor, Los Angeles, CA 90067-3120, and my business
                    email address is a1s@msk.com.
                5
                            On August 21, 2023, I served a copy of the foregoing document(s) described as
                6   ACKNWOLEDGEMENT OF RECEIPT (SUMMONS and COMPLAINT) on the interested
                    parties in this action at their last known address as set forth below by taking the action described
                7   below:
                8    Frank H. Kim                                       Helen U. Kim
                     fkim@kim-legal.com                                 helen@helenkimlaw.com
                9    KIM LEGAL, APC                                     HELEN KIM LAW, APC
                     3435 Wilshire Blvd, Suite 2700                     3435 Wilshire Blvd, Suite 2700
               10    Los Angeles, CA 90010                              Los Angeles, CA 90010
                     Telephone: (323) 482-3300                          Telephone: (323) 487-9151
               11    Facsimile: (866) 652-7819                          Facsimile: (866) 652-7819
               12    Attorneys for Plaintiff Paul Ward
               13        BY PLACING FOR COLLECTION AND MAILING: I placed the above-mentioned
                          document(s) in sealed envelope(s) addressed as set forth above, and placed the
               14         envelope(s) for collection and mailing following ordinary business practices. I am readily
                          familiar with the firm’s practice for collection and processing of correspondence for
               15         mailing with the United States Postal Service. Under that practice it would be deposited
                          with the U.S. Postal Service on that same day with postage thereon fully prepaid at 2049
               16         Century Park East, 18th Floor, Los Angeles, California 90067-3120 in the ordinary course
                          of business.
               17
                         BY ELECTRONIC MAIL: I served the above-mentioned document electronically on
               18         the parties listed at the email addresses above and, to the best of my knowledge, the
                          transmission was complete and without error in that I did not receive an electronic
               19         notification to the contrary.
               20        BY ELECTRONIC SERVICE: Pursuant to California Rule of Court 2.251(b)(1)(B), the
                          parties listed above were served electronically via the FIRST LEGAL e-fling portal.
               21
                            I declare under penalty of perjury under the laws of the State of California that the above is
               22   true and correct.
               23          Executed on August 21, 2023, at Los Angeles, California.
               24

               25                                                                   Alma L. Silva
               26

               27
  Mitchell     28
Silberberg &
 Knupp LLP

                                                            PROOF OF SERVICE




                                                                                                               Exhibit 7
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             EXHIBIT 8




                                                                   Exhibit 8
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      FRANK H. KIM, State Bar No. 264609
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      Facsimile: (866) 652-7819
  4
      HELEN U. KIM, State Bar No. 260195
  5      helen@helenkimlaw.com
      HELEN KIM LAW, APC
  6   3435 Wilshire Blvd, Suite 2700
      Los Angeles, CA 90010
  7   Telephone: (323) 487-9151
      Facsimile: (866) 652-7819
  8
      Attorneys for Plaintiff Paul Ward
  9

 10   STEPHEN A. ROSSI (SBN 282205)
      sar@msk.com
 11   MITCHELL SILBERBERG & KNUPP, LLP
      2049 Century Park East, 18th Floor
 12   Los Angeles, CA 90067
 13   Telephone: (310) 312-3240

 14   Attorneys for Defendant
      Home Box Office, Inc. and Cooler Waters Productions, LLC
 15

 16                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
 17
                                 FOR THE COUNTY OF LOS ANGELES
 18

 19
      PAUL WARD, individually and on behalf of all Case No.: 23STCV11666
 20   other persons similarly situated,            [The Hon. Maren Nelson, Dept. 17]
 21
                    Plaintiff,                        PROOF OF SERVICE
 22          v.
                                                      Dept: 17
 23   HOME BOX OFFICE, INC., a foreign                Date: September 5, 2023
      corporation; COOLER WATERS                      Time: 9:00 AM
 24
      PRODUCTIONS, LLC, a foreign limited
 25   liability company; and DOES 1 through 50,       Complaint Filed: May 22, 2023
      inclusive,                                      Trial Date: None Set
 26
                    Defendants.
 27

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                                                  1
                                          PROOF OF SERVICE




                                                                                       Exhibit 8
                                                                                        Page 74
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     STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 1
 2          At the time of service, I was over 18 years of age and not a party to this action. My
     business address is: 3435 Wilshire Blvd., Suite 2700, Los Angeles, CA 90010.
 3
         On August 11, 2023, I served true copies of the following document(s) described as: (1)
 4   COURT ORDER RE COMPLEX DESIGNATION; AND (2) INITIAL STATUS
     CONFERNCE ORDER, on the interested parties in this action as follows:
 5
 6   Stephen A. Rossi, Esq.                               Helen U. Kim, Esq.
     sar@msk.com                                          HELEN KIM LAW, APC
 7   MITCHELL SILBERBERG & KNUPP,                         3435 Wilshire Blvd, Suite 2700
                                                          Los Angeles, CA 90010
     LLP                                                  Telephone: (323) 487-9151
 8   2049 Century Park East, 18th Floor                   Facsimile: (866) 652-7819
     Los Angeles, CA 90067                                Email: helen@helenkimlaw.com
 9
     Telephone: (310) 312-3240                            Attorneys for Plaintiff and the Proposed
10   Attorneys for Home Box Office, Inc. and              Class
     Cooler Waters Productions, LLC
11

12   [x]   BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
     document(s) to be emailed to the parties listed above.
13
              I declare under penalty of perjury under the laws of the State of California that the above
14
     is true and correct.
15
             Executed on August 11, 2023, at Los Angeles, California.
16

17                                                          /s/ Frank H. Kim
                                                            FRANK H. KIM
18
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                                                      2
                     JOINT STIPULATION TO CONTINUE INITIAL STATUS CONFERENCE

     FP 47901980.1


                                                                                                   Exhibit 8
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             EXHIBIT 9




                                                                   Exhibit 9
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                1   MITCHELL SILBERBERG & KNUPP LLP
                    ADAM LEVIN (SBN 156773), axl@msk.com
                2   STEPHEN A. ROSSI (SBN 282205), sar@msk.com
                    KYLE DECAMP (SBN 328585), kyle.decamp@msk.com
                3   2049 Century Park East, 18th Floor
                    Los Angeles, CA 90067-3120
                4   Telephone: (310) 312-2000
                    Facsimile: (310) 312-3100
                5
                    Attorneys for Defendants
                6

                7

                8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
                9                               FOR THE COUNTY OF LOS ANGELES
               10                                      CENTRAL DISTRICT
               11   PAUL WARD, individually and on behalf of     CASE NO. 23STCV11666
                    other persons similarly situated,
               12                                                Assigned to Judge Maren Nelson
                                  Plaintiff,                     Dept. 17
               13
                           v.                                    NOTICE OF APPEARANCE OF
               14                                                COUNSEL FOR DEFENDANTS HOME
                    HOME BOX OFFICE, INC., a foreign             BOX OFFICE, INC AND COOLER
               15   corporation; COOLER WATERS                   WATERS PRODUCTIONS, LLC
                    PRODUCTIONS, LLC, a foreign limited
               16   liability company; and DOES 1 through 50,
                    inclusive,                                   Date Filed: May 22, 2023
               17
                                  Defendants.
               18

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  Mitchell     28
Silberberg &
 Knupp LLP

                                                      NOTICE OF APPEARANCE




                                                                                                  Exhibit 9
                                                                                                   Page 77
        Case 2:23-cv-07838 Document 3 Filed 09/19/23 Page 78 of 112 Page ID #:190




                1   TO PAUL WARD, HIS ATTORNEYS OF RECORD, AND THE ABOVE-ENTITLED

                2   HONORABLE COURT:

                3          PLEASE TAKE NOTICE THAT the undersigned attorneys are appearing on behalf of

                4   Defendants Home Box Office, Inc. and Cooler Waters Production, LLC (“HBO”) in the above-

                5   captioned action, and hereby request service of all notices, communications and other papers in

                6   this matter be served at the following address:

                7                          Adam Levin (SBN 156773)
                                           E-Mail: axl@msk.com
                8                          Stephen A. Rossi (SBN 282205)
                                           E-Mail: sar@msk.com
                9                          Kyle DeCamp (SBN 328585)
                                           E-Mail: kyle.decamp@msk.com
               10                          MITCHELL SILBERBERG & KNUPP LLP
                                           2049 Century Park East, 18th Floor
               11                          Los Angeles, CA 90067-3120
                                           Telephone: (310) 312-2000
               12
                                           Facsimile: (310) 312-3100
               13

               14
                    DATED: August 21, 2023                       MITCHELL SILBERBERG & KNUPP LLP
               15                                                ADAM LEVIN
                                                                 STEPHEN A. ROSSI
               16                                                KYLE DECAMP

               17

               18                                                By:
                                                                          Stephen A. Rossi
               19                                                         Attorneys for Defendants

               20

               21

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  Mitchell     28
Silberberg &
 Knupp LLP
                                                                      2
                                                         NOTICE OF APPEARANCE




                                                                                                           Exhibit 9
                                                                                                            Page 78
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                1                                         PROOF OF SERVICE

                2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                3          I am employed in the County of Los Angeles , State of California, I am over the age of
                    eighteen years and am not a party to this action; my business address is Mitchell Silberberg &
                4   Knupp LLP, 2049 Century Park East, 18th Floor, Los Angeles, CA 90067-3120, and my business
                    email address is a1s@msk.com.
                5
                          On August 21, 2023, I served a copy of the foregoing document(s) described as NOTICE
                6   OF APPEARANCE OF COUNSEL FOR DEFENDANTS HOME BOX OFFICE, INC AND
                    COOLER WATERS PRODUCTIONS, LLC on the interested parties in this action at their last
                7   known address as set forth below by taking the action described below:
                8    Frank H. Kim                                        Helen U. Kim
                     fkim@kim-legal.com                                  helen@helenkimlaw.com
                9    KIM LEGAL, APC                                      HELEN KIM LAW, APC
                     3435 Wilshire Blvd, Suite 2700                      3435 Wilshire Blvd, Suite 2700
               10    Los Angeles, CA 90010                               Los Angeles, CA 90010
                     Telephone: (323) 482-3300                           Telephone: (323) 487-9151
               11    Facsimile: (866) 652-7819                           Facsimile: (866) 652-7819
               12    Attorneys for Plaintiff Paul Ward
               13        BY PLACING FOR COLLECTION AND MAILING: I placed the above-mentioned
                          document(s) in sealed envelope(s) addressed as set forth above, and placed the
               14         envelope(s) for collection and mailing following ordinary business practices. I am readily
                          familiar with the firm’s practice for collection and processing of correspondence for
               15         mailing with the United States Postal Service. Under that practice it would be deposited
                          with the U.S. Postal Service on that same day with postage thereon fully prepaid at 2049
               16         Century Park East, 18th Floor, Los Angeles, California 90067-3120 in the ordinary course
                          of business.
               17
                         BY ELECTRONIC MAIL: I served the above-mentioned document electronically on
               18         the parties listed at the email addresses above and, to the best of my knowledge, the
                          transmission was complete and without error in that I did not receive an electronic
               19         notification to the contrary.
               20        BY ELECTRONIC SERVICE: Pursuant to California Rule of Court 2.251(b)(1)(B), the
                          parties listed above were served electronically via the FIRST LEGAL e-fling portal.
               21
                           I declare under penalty of perjury under the laws of the State of California that the above is
               22   true and correct.
               23          Executed on August 21, 2023, at Los Angeles, California.
               24

               25                                                                  Alma L. Silva
               26

               27
  Mitchell     28
Silberberg &
 Knupp LLP
                                                                     3
                                                         NOTICE OF APPEARANCE




                                                                                                              Exhibit 9
                                                                                                               Page 79
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           EXHIBIT 10




                                                                  Exhibit 10
                                                                    Page 80
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                                                                                                                                                       CM-015
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
                                                                                                                           FOR COURT USE ONLY
Frank H. Kim (SBN 264609)
Kim Legal, APC
3435 Wilshire Blvd., Suite 2700
Los Angeles CA 90010
           TELEPHONE NO.:        (323) 482-3300                    FAX NO. (Optional):
  EMAIL ADDRESS (Optional): fkim@kim-legal.com
     ATTORNEY FOR (Name): Paul Ward

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
 STREET ADDRESS: 111 N. Hill St.
 MAILING ADDRESS: 111 N. Hill St.
CITY AND ZIP CODE: Los Angeles 90012
     BRANCH NAME: Stanley Mosk Courthouse

                                                                                                            CASE NUMBER:
      PLAINTIFF/PETITIONER: Paul Ward                                                                       23STCV11666
                                                                                                            JUDICIAL OFFICER:
DEFENDANT/RESPONDENT: Home Box Office, Inc; Cooler Waters Productions, LLC
                                                                                                            Maren Nelson
                                                                                                            DEPT:.
                                     NOTICE OF RELATED CASE                                                 17

Identify, in chronological order according to date of filing, all cases related to the case referenced above.
1. a. Title: Josephine Tehrani v Home Box Office Inc. et al.
     b. Case number: 23STCV09609
     c. Court:         ✖         same as above
                              other state or federal court (name and address):
     d. Department: 34
     e. Case type:                  limited civil   ✖    unlimited civil             probate         family law          other (specify):
     f.   Filing date: April 28, 2023
     g. Has this case been designated or determined as "complex?"                              Yes   ✖   No
     h. Relationship of this case to the case referenced above (check all that apply):
            ✖      involves the same parties and is based on the same or similar claims.
                   arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                   the same or substantially identical questions of law or fact.
                   involves claims against, title to, possession of, or damages to the same property.
                   is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                           Additional explanation is attached in attachment 1h
     i.   Status of case:
           ✖    pending
                   dismissed              with          without prejudice
                   disposed of by judgment

2. a. Title:
     b. Case number:

     c. Court:               same as above
                             other state or federal court (name and address):

     d. Department:



                                                                                                                                                        Page 1 of 3

Form Approved for Optional Use                                                                                                        Cal. Rules of Court, rule 3.300
Judicial Council of California
                                                              NOTICE OF RELATED CASE
                                                                                                                                                 www.courts.ca.gov
CM-015 [Rev. July 1, 2007]




                                                                                                                                        Exhibit 10
                                                                                                                                          Page 81
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                                                                                                                                        CM-015
      PLAINTIFF/PETITIONER: Paul Ward                                                                 CASE NUMBER:

DEFENDANT/RESPONDENT: Home Box Office, Inc; Cooler Waters Productions, LLC                            23STCV11666


2. (continued)
     e. Case type:                  limited civil       unlimited civil       probate         family law         other (specify):
     f.   Filing date:
     g. Has this case been designated or determined as "complex?"                       Yes        No
     h. Relationship of this case to the case referenced above (check all that apply):
                   involves the same parties and is based on the same or similar claims.
                   arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                   the same or substantially identical questions of law or fact.
                   involves claims against, title to, possession of, or damages to the same property.
                   is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                             Additional explanation is attached in attachment 2h
     i.   Status of case:
                pending
                   dismissed              with        without prejudice
                   disposed of by judgment

3. a. Title:
     b. Case number:

     c. Court:                 same as above
                               other state or federal court (name and address):

     d. Department:
     e. Case type:                  limited civil       unlimited civil       probate         family law         other (specify):
     f.   Filing date:
     g. Has this case been designated or determined as "complex?"                       Yes        No
     h. Relationship of this case to the case referenced above (check all that apply):
                   involves the same parties and is based on the same or similar claims.
                   arises from the same or substantially identical transactions, incidents, or events requiring the determination of
                   the same or substantially identical questions of law or fact.
                   involves claims against, title to, possession of, or damages to the same property.
                   is likely for other reasons to require substantial duplication of judicial resources if heard by different judges.
                             Additional explanation is attached in attachment 3h
     i.   Status of case:
                   pending
                   dismissed              with        without prejudice
                   disposed of by judgment

4.            Additional related cases are described in Attachment 4. Number of pages attached:



Date: August 25, 2023

Frank H. Kim
                (TYPE OR PRINT NAME OF PARTY OR ATTORNEY)                                           (SIGNATURE OF PARTY OR ATTORNEY)




CM-015 [Rev. July 1, 2007]                                                                                                               Page 2 of 3
                                                             NOTICE OF RELATED CASE


                                                                                                                                Exhibit 10
                                                                                                                                  Page 82
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                                                                                                                                          CM-015
      PLAINTIFF/PETITIONER: Paul Ward                                                                  CASE NUMBER:

DEFENDANT/RESPONDENT: Home Box Office, Inc; Cooler Waters Productions, LLC                             23STCV11666


                                                        PROOF OF SERVICE BY FIRST-CLASS MAIL
                                                                  NOTICE OF RELATED CASE
(NOTE: You cannot serve the Notice of Related Case if you are a party in the action. The person who served the notice must
complete this proof of service. The notice must be served on all known parties in each related action or proceeding.)

1. I am at least 18 years old and not a party to this action. I am a resident of or employed in the county where the mailing took
   place, and my residence or business address is (specify):




2. I served a copy of the Notice of Related Case by enclosing it in a sealed envelope with first-class postage fully prepaid and
   (check one):

     a.            deposited the sealed envelope with the United States Postal Service.
     b.            placed the sealed envelope for collection and processing for mailing, following this business's usual practices, with which
                   I am readily familiar. On the same day correspondence is placed for collection and mailing, it is deposited in the ordinary
                   course of business with the United States Postal Service.

3. The Notice of Related Case was mailed:
     a. on (date):
     b. from (city and state):

4. The envelope was addressed and mailed as follows:
     a. Name of person served:                                                  c. Name of person served:

          Street address:                                                              Street address:
          City:                                                                        City:
          State and zip code:                                                          State and zip code:

     b. Name of person served:                                                  d. Name of person served:

          Street address:                                                              Street address:
          City:                                                                        City:
          State and zip code:                                                          State and zip code:


          Names and addresses of additional persons served are attached. (You may use form POS-030(P).)

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.



Date:



                             (TYPE OR PRINT NAME OF DECLARANT)                                         (SIGNATURE OF DECLARANT)




CM-015 [Rev. July 1, 2007]                                                                                                                 Page 3 of 3
                                                                 NOTICE OF RELATED CASE
For your protection and privacy, please press the Clear
This Form button after you have printed the form.                    Print this form       Save this form                         Clear this form


                                                                                                                                   Exhibit 10
                                                                                                                                     Page 83
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           EXHIBIT 11




                                                                  Exhibit 11
                                                                    Page 84
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  1   FRANK H. KIM, State Bar No. 264609
         fkim@kim-legal.com
  2   KIM LEGAL, APC
      3435 Wilshire Blvd, Suite 2700
  3   Los Angeles, CA 90010
      Telephone: (323) 482-3300
  4   Facsimile: (866) 652-7819
  5   HELEN U. KIM, State Bar No. 260195
         helen@helenkimlaw.com
  6   HELEN KIM LAW, APC
      3435 Wilshire Blvd, Suite 2700
  7   Los Angeles, CA 90010
      Telephone: (323) 487-9151
  8   Facsimile: (866) 652-7819
  9
      Attorneys for Plaintiff Paul Ward
 10

 11                    SUPERIOR COURT OF THE STATE OF CALIFORNIA

 12                              FOR THE COUNTY OF LOS ANGELES
 13

 14
      PAUL WARD, individually and on behalf of all Case No.: 23STCV11666
 15   other persons similarly situated,            [The Hon. Maren Nelson, Dept. 17]

 16                 Plaintiff,                        PROOF OF SERVICE
             v.
 17

 18   HOME BOX OFFICE, INC., a foreign                Complaint Filed: May 22, 2023
      corporation; COOLER WATERS                      Trial Date: None Set
 19   PRODUCTIONS, LLC, a foreign limited
      liability company; and DOES 1 through 50,
 20   inclusive,
 21
                    Defendants.
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                                          PROOF OF SERVICE




                                                                                       Exhibit 11
                                                                                         Page 85
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     STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 1

 2          At the time of service, I was over 18 years of age and not a party to this action. My
     business address is: 3435 Wilshire Blvd., Suite 2700, Los Angeles, CA 90010.
 3
           On August 25, 2023, I served true copies of the following document(s) described
 4   as: NOTICE OF RELATED CASE, on the interested parties in this action as follows:
 5                                                      Helen U. Kim, Esq.
      Stephen A. Rossi, Esq.
      sar@msk.com                                       HELEN KIM LAW, APC
 6                                                      3435 Wilshire Blvd, Suite 2700
      Kyle DeCamp, Esq.
      kxd@msk.com                                       Los Angeles, CA 90010
 7                                                      Telephone: (323) 487-9151
      MITCHELL SILBERBERG & KNUPP,                      Facsimile: (866) 652-7819
 8    LLP                                               Email: helen@helenkimlaw.com
      2049 Century Park East, 18th Floor                Attorneys for Plaintiff and the Proposed
 9    Los Angeles, CA 90067                             Class
      Telephone: (310) 312-3240
10
      Attorneys for Home Box Office, Inc. and
11    Cooler Waters Productions, LLC
             [x]     BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused the document
12   to be sent to the persons at the e-mail address(es) listed on the service list. I did not receive,
     within a reasonable time after the transmission, any electronic message or other indication that
13   the transmission was unsuccessful.
14

15            I declare under penalty of perjury under the laws of the State of California that the above
     is true and correct.
16
             Executed on August 25, 2023, at Los Angeles, California.
17
                                                            /s/ Kimberly Bentley
18
                                                            KIMBERLY BENTLEY
19

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                                             PROOF OF SERVICE

     FP 47901980.1


                                                                                                 Exhibit 11
                                                                                                   Page 86
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           EXHIBIT 12




                                                                  Exhibit 12
                                                                    Page 87
                                              Case 2:23-cv-07838 Document 3 Filed 09/19/23 Page 88 of 112 Page ID #:200




                                                      FRANK H. KIM, State Bar No. 264609
                                                 1       fkim@kim-legal.com
                                                      KIM LEGAL, APC
                                                 2    3435 Wilshire Blvd, Suite 2700
                                                      Los Angeles, CA 90010
                                                 3    Telephone: (323) 482-3300
                                                      Facsimile: (866) 652-7819
                                                 4
Electronically Received 08/23/2023 08:49 PM




                                                      HELEN U. KIM, State Bar No. 260195
                                                 5       helen@helenkimlaw.com
                                                      HELEN KIM LAW, APC
                                                 6    3435 Wilshire Blvd, Suite 2700
                                                      Los Angeles, CA 90010
                                                 7    Telephone: (323) 487-9151
                                                      Facsimile: (866) 652-7819
                                                 8
                                                      Attorneys for Plaintiff Paul Ward
                                                 9

                                                 10   STEPHEN A. ROSSI (SBN 282205)
                                                      sar@msk.com
                                                 11   MITCHELL SILBERBERG & KNUPP, LLP
                                                      2049 Century Park East, 18th Floor
                                                 12   Los Angeles, CA 90067
                                                 13   Telephone: (310) 312-3240

                                                 14   Attorneys for Defendant
                                                      Home Box Office, Inc. and Cooler Waters Productions, LLC
                                                 15

                                                 16                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                 17
                                                                                 FOR THE COUNTY OF LOS ANGELES
                                                 18

                                                 19
                                                      PAUL WARD, individually and on behalf of all Case No.: 23STCV11666
                                                 20   other persons similarly situated,            [The Hon. Maren Nelson, Dept. 17]
                                                 21
                                                                    Plaintiff,                        JOINT STIPULATION TO CONTINUE
                                                 22          v.                                       THE INITIAL STATUS CONFERENCE;
                                                                                                      [PROPOSED ORDER]
                                                 23   HOME BOX OFFICE, INC., a foreign
                                                      corporation; COOLER WATERS                      Dept: 17
                                                 24
                                                      PRODUCTIONS, LLC, a foreign limited             Date: September 5, 2023
                                                 25   liability company; and DOES 1 through 50,       Time: 9:00 AM
                                                      inclusive,
                                                 26                                                   Complaint Filed: May 22, 2023
                                                                    Defendants.                       Trial Date: None Set
                                                 27

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                                                                    JOINT STIPULATION TO CONTINUE INITIAL STATUS CONFERENCE




                                                                                                                                      Exhibit 12
                                                                                                                                        Page 88
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 1           WHEREAS, on May 22, 2023, Plaintiff filed the instant class action lawsuit against

 2   Defendants. The action was assigned to Judge Maren Nelson.

 3           WHEREAS, on June 7, 2023, Judge Nelson issued an Initial Status Conference Order

 4   and set the Initial Status Conference for September 5, 2023.

 5           WHEREAS, on August 4, 2023, Plaintiff emailed opposing counsel a copy of the

 6   Summons and Complaint and a Notice and Acknowledgement of Receipt.

 7           WHEREAS, on August 21, 2023, Defendants signed and returned to opposing counsel

 8   the Notice and Acknowledgement of Receipt.

 9           WHEREAS, August 28, 2023 is the last day for the Parties to meet and confer to discuss

10   case management.

11           WHEREAS, August 29, 2023 is the date by which a joint Initial Status Conference
     Statement is to be filed.
12
             WHEREAS, the instant lawsuit is related to a PAGA only lawsuit filed against
13
     Defendants and also served on August 4, 2023 (Tehrani v. Home Box Office, Inc., et al., Case
14
     No. 23STCV09609).
15
             WHEREAS, the instant lawsuit and the Tehrani lawsuit have overlapping legal issues
16
     and defendants and Plaintiff will be requesting that Tehrani be related to this matter and overseen
17
     by this Department as this matter is the first-filed case.
18
             WHEREAS, the Court’s resources would be saved by conducting an initial status
19
     conference of both Tehrani and this matter if and after the matters are deemed related.
20
             WHEREAS, the meet and confer process would be best served if Defendants had benefit
21
     additional time to internally review and evaluate the allegations in Plaintiff’s complaints and
22
     coordinate the retrieval of relevant documentation from third party companies.
23
             WHEREAS, the Parties have demonstrated good cause and none of the Parties will suffer
24
     undue prejudice as a result of a brief continuance.
25
             Based on the foregoing, IT IS HEREBY STIPULATED by and between the Parties,
26
     through the undersigned counsel of record, as follows:
27

28
                                                       2
                     JOINT STIPULATION TO CONTINUE INITIAL STATUS CONFERENCE

     FP 47901980.1


                                                                                                Exhibit 12
                                                                                                  Page 89
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 1           1. The Initial Status Conference set for September 5, 2023 be continued at least 30 days

 2               to a date that is convenient for this Court.

 3
      DATED: August 22, 2023                   KIM LEGAL, APC
 4                                             HELEN KIM LAW, APC
 5
 6                                             By:              /s/ Frank H. Kim
                                                                FRANK H. KIM, Esq.
 7                                                              Attorneys for Plaintiff and the Proposed
                                                                Class
 8
 9
      DATED: August 22, 2023                   MITCHELL SILBERBERG & KNUPP, LLP
10

11                                             By:              /s/ Stepehen A. Rossi
                                                                STEPHEN A. ROSSI, Esq.
12                                                              Attorneys for Defendants Home Box
                                                                Office, Inc. and Cooler Waters
13
                                                                Productions, LLC
14
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                     JOINT STIPULATION TO CONTINUE INITIAL STATUS CONFERENCE

     FP 47901980.1


                                                                                                   Exhibit 12
                                                                                                     Page 90
Case 2:23-cv-07838 Document 3 Filed 09/19/23 Page 91 of 112 Page ID #:203




 1                                        [PROPOSED] ORDER
 2   PURSUANT TO STIPULATION, IT IS HEREBY ORDERED THAT:
 3           1.      The Initial Status Conference set for September 5, 2023 be continued at least 30
 4            10/12/2023 at 9:00 a.m.
     days to __________________________.
 5   ______________________________________________________________________________
 6   ______________________________________________________________________________
 7   ______________________________________________________________________________
 8
 9
      Dated: ________________
10                                                                JUDGE MAREN NELSON
11

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                     JOINT STIPULATION TO CONTINUE INITIAL STATUS CONFERENCE

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                                                                                               Exhibit 12
                                                                                                 Page 91
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                                          PROOF OF SERVICE
 1
 2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

 3          At the time of service, I was over 18 years of age and not a party to this action. My
     business address is: 3435 Wilshire Blvd., Suite 2700, Los Angeles, CA 90010.
 4
             On August 23, 2023, I served true copies of the following document(s) described as:
 5
     JOINT STIPULATION TO CONTINUE THE INITIAL STATUS CONFERENCE, on the
 6   interested parties in this action as follows:

 7   Stephen A. Rossi, Esq.                               Helen U. Kim, Esq.
     sar@msk.com                                          HELEN KIM LAW, APC
 8   MITCHELL SILBERBERG & KNUPP,                         3435 Wilshire Blvd, Suite 2700
                                                          Los Angeles, CA 90010
     LLP                                                  Telephone: (323) 487-9151
 9
     2049 Century Park East, 18th Floor                   Facsimile: (866) 652-7819
10   Los Angeles, CA 90067                                Email: helen@helenkimlaw.com
     Telephone: (310) 312-3240                            Attorneys for Plaintiff and the Proposed
11   Attorneys for Home Box Office, Inc. and              Class
     Cooler Waters Productions, LLC
12

13   [x]   BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of the
     document(s) to be emailed to the parties listed above.
14
15            I declare under penalty of perjury under the laws of the State of California that the above
     is true and correct.
16
             Executed on August 23, 2023, at Los Angeles, California.
17

18                                                          /s/ Frank H. Kim
19                                                          FRANK H. KIM

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                     JOINT STIPULATION TO CONTINUE INITIAL STATUS CONFERENCE

     FP 47901980.1


                                                                                                 Exhibit 12
                                                                                                   Page 92
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           EXHIBIT 13




                                                                  Exhibit 13
                                                                    Page 93
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           EXHIBIT 14




                                                                  Exhibit 14
                                                                    Page 96
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   SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                                           Civil Division
                    Central District, Spring Street Courthouse, Department 17

23STCV11666                                                                       August 30, 2023
PAUL WARD vs HOME BOX OFFICE, INC., et al.                                               2:19 PM


Judge: Honorable Maren Nelson                     CSR: None
Judicial Assistant: Maribel Mata                  ERM: None
Courtroom Assistant: None                         Deputy Sheriff: None

APPEARANCES:
For Plaintiff(s): No Appearances
For Defendant(s): No Appearances




NATURE OF PROCEEDINGS: Nunc Pro Tunc Order

It appearing to the Court that through inadvertence and/or clerical error, the minute order of
08/30/2023 in the above-entitled action does not properly reflect the Court's order. At the
direction of the Judicial Officer, said minute order is corrected nunc pro tunc as of 08/30/2023,
as follows:

By striking: The parties shall attend an Initial Status Conference in both actions on 10/22/223
9:00 AM Department 17 at Spring Street Courthouse.

By adding: The parties shall attend an Initial Status Conference in both actions on 10/12/2023
9:00 AM Department 17 at Spring Street Courthouse.

Counsel for plaintiff is to give notice.

Certificate of Mailing is attached.




                                           Minute Order                                 Page 1 of 1

                                                                                          Exhibit 14
                                                                                            Page 97
     Case 2:23-cv-07838 Document 3 Filed 09/19/23 Page 98 of 112 Page ID #:210
                                                                                  Reserved for Clerk’s File Stamp
            SUPERIOR COURT OF CALIFORNIA
               COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:
Spring Street Courthouse
312 North Spring Street, Los Angeles, CA 90012
PLAINTIFF/PETITIONER:
Paul Ward
DEFENDANT/RESPONDENT:
Home Box Office, Inc., et al.

                                                                            CASE NUMBER:
                        CERTIFICATE OF MAILING                              23STCV11666

I, the below-named Executive Officer/Clerk of the above-entitled court, do hereby certify that I am not a
party to the cause herein, and that on this date I served the Minute Order (Nunc Pro Tunc Order) of
08/30/2023 upon each party or counsel named below by placing the document for collection and mailing
so as to cause it to be deposited in the United States mail at the courthouse in Los Angeles, California, one
copy of the original filed/entered herein in a separate sealed envelope to each address as shown below
with the postage thereon fully prepaid, in accordance with standard court practices.




    Frank H Kim
    Helen Kim Law, APC
    3435 Wilshire Blvd., Suite 2700
    Los Angeles, CA 90010




                                                     David W. Slayton, Executive Officer / Clerk of Court
Dated: 08/30/2023                                     By:   M. Mata
                                                            Deputy Clerk




                                      CERTIFICATE OF MAILING

                                                                                                       Exhibit 14
                                                                                                         Page 98
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           EXHIBIT 15




                                                                  Exhibit 15
                                                                    Page 99
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   1   FRANK H. KIM, State Bar No. 264609
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   3   Los Angeles, CA 90010
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   5   HELEN U. KIM, State Bar No. 260195
          helen@helenkimlaw.com
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   7   Los Angeles, CA 90010
       Telephone: (323) 487-9151
   8   Facsimile: (866) 652-7819

   9   Attorneys for Plaintiff Paul Ward

  10
                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
  11
                                  FOR THE COUNTY OF LOS ANGELES
  12
       PAUL WARD, individually and on behalf of        CASE NO. 23STCV11666
  13   other persons similarly situated,               [Hon. Maren Nelson, Dept. 17]
  14                 Plaintiff,
                                                       PROOF OF SERVICE
  15          vs.
                                                       Complaint Filed:    May 22, 2023
  16   HOME BOX OFFICE, INC., a foreign                Trial Date:         Not Set
       corporation; COOLER WATERS
  17   PRODUCTIONS, LLC, a foreign limited
       liability company; and DOES 1 through 50,
  18   inclusive,

  19                 Defendants.

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                                                   1
                                           PROOF OF SERVICE



                                                                                          Exhibit 15
                                                                                           Page 100
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 1                                (PROOF OF SERVICE)
                                     [CCP 1013(a)(3)]
 2
                      STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
 3
            I am employed in the County of Los Angeles, State of California. I am over the age of
 4   18 years and not a party to this action. My business address is 3435 Wilshire Blvd., Suite
     2700, Los Angeles, CA 90010.
 5

 6          On August 4, 2023, I served all interested parties in this action the following documents
     described as:
 7
           1. Notice and Acknowledgment of Receipt – Civil
 8
 9   by providing a true copy thereof to the following individuals in the method indicated below:

10    STEPHEN A. ROSSI                                         HELEN U. KIM
      ADAM LEVIN                                               HELEN KIM LAW, APC
11
      KYLE DECAMP                                              3435 Wilshire Blvd, Suite 2700
12    MITCHELL SILBERBERG & KNUPP, LLP                         Los Angeles, CA 90010
      2049 Century Park East, 18th Floor                       Email: helen@helenkimlaw.com
13    Los Angeles, CA 90067-3120                               Attorneys for Plaintiff Paul Ward
      Email: sar@msk.com;
14
      axl@msk.com;
15    kxd@msk.com.
      Attorneys for Defendants Home Box Office, Inc and
16    Cooler Waters Productions, LLC
17
     [ ]      (BY MAIL) I am “readily familiar” with the firm’s practice of collection and
18            processing correspondence for mailing. Under that practice it would be deposited with
              U.S. postal service on that same day with postage fully prepaid at Encino, California in
19            the ordinary course of business. I am aware that on motion of the party served, service
              is presumed invalid if postal cancellation date or postage meter date is more than one
20
              day after date of deposit for mailing in affidavit.
21
     [XX] (BY ELECTRONIC MAIL TRANSMISSION): I caused the document to be sent to
22        the persons at the e-mail address(es) listed on the above or attached service list.
23
     [XX] (STATE) I declare under penalty of perjury under the laws of the State of California
24        that the above is true and correct.

25            Executed on August 4, 2023 at Los Angeles, California.
26
27

28
                                                  Frank H. Kim

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                                            PROOF OF SERVICE



                                                                                              Exhibit 15
                                                                                               Page 101
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           EXHIBIT 16




                                                                  Exhibit 16
                                                                   Page 102
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                  1   MITCHELL SILBERBERG & KNUPP LLP
                      ADAM LEVIN (SBN 156773), axl@msk.com
                  2   STEPHEN A. ROSSI (SBN 282205), sar@msk.com
                      GENEVIEVE L. JAVIDZAD (SBN 336138) glj@msk.com
                  3   2049 Century Park East, 18th Floor
                      Los Angeles, CA 90067-3120
                  4   Telephone: (310) 312-2000
                      Facsimile: (310) 312-3100
                  5
                      Attorneys for Defendants
                  6   Home Box Office, Inc. and
                      Cooler Waters Productions, LLC
                  7

                  8                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
                  9                               FOR THE COUNTY OF LOS ANGELES
                 10                    CENTRAL DISTRICT – SPRING STREET COURTHOUSE
                 11   PAUL WARD, individually and on behalf of     CASE NO. 23STCV11666
                      other persons similarly situated,
                 12                                                Judge:        Hon. Maren Nelson
                                    Plaintiff,                     Dept:         17
                 13
                             v.                                    DEFENDANTS HOME BOX OFFICE,
                 14                                                INC. AND COOLER WATERS
                      HOME BOX OFFICE, INC., a foreign             PRODUCTIONS, LLC’S ANSWER TO
                 15   corporation; COOLER WATERS                   PLAINTIFF’S COMPLAINT
                      PRODUCTIONS, LLC, a foreign limited
                 16   liability company; and DOES 1 through 50,    File Date:     May 22, 2023
                      inclusive,                                   Trial Date:    None Set
                 17
                                    Defendants.
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    Mitchell     28
  Silberberg &
   Knupp LLP
15814936.2
                                                  DEFENDANTS’ ANSWER TO COMPLAINT
                                                                                                 Exhibit 16
                                                                                                  Page 103
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                 1                                           GENERAL DENIAL

                 2           Defendants Home Box Office, Inc. (“HBO”) and Cooler Waters Productions, LLC

                 3    (“Cooler Waters”) (collectively, “Defendants”), by and through their counsel, hereby answer the

                 4    unverified complaint (“Complaint”) filed by Plaintiff Paul Ward (“Plaintiff”) as follows:

                 5                                           GENERAL DENIAL

                 6           Pursuant to the provisions of California Code of Civil Procedure (“CCP”)

                 7    Section 431.30(d), Defendants deny, both generally and specifically, each and every material

                 8    allegation in the Complaint, and specifically deny that Plaintiff or any alleged class member

                 9    (hereinafter, “alleged class member”) has been, is, or will be damaged in the amount alleged, or in

                 10   any manner or sum whatsoever, or is entitled to any recovery or remedy of any type whatsoever,

                 11   by reason of any of Defendants’ acts, conduct, or omissions.

                 12                              SEPARATE AFFIRMATIVE DEFENSES

                 13          Without waiving or excusing Plaintiff’s burden of proof or that of any alleged class

                 14   member, or admitting that Defendants have any burden of proof, or admitting that any of these

                 15   affirmative defenses are in fact affirmative defenses as to which Defendants bear the burden of

                 16   proof as opposed to matters on which Plaintiff and/or any alleged class member bears the burden

                 17   of proof, Defendants assert the following separate affirmative defenses.

                 18                                  FIRST AFFIRMATIVE DEFENSE

                 19                                  [Failure to State a Cause of Action]

                 20          1.      The Complaint, in whole or in part, fails to state facts sufficient to constitute a

                 21   cause of action brought on behalf of Plaintiff and/or any alleged class member because it fails to

                 22   disclose facts supporting the conclusion that the payments at issue are “non-discretionary,” the

                 23   payments are “talent fees” under the Fair Labor Standard Act if they are “non-discretionary,” and

                 24   the claims are preempted by the Labor Management Relations Act as they arise from or require

                 25   interpretation of the applicable SAG-AFTRA collective bargaining agreement.

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    Mitchell     28
  Silberberg &
   Knupp LLP
15814936.2                                                              2
                                                   DEFENDANTS’ ANSWER TO COMPLAINT



                                                                                                               Exhibit 16
                                                                                                                Page 104
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                 1                                  SECOND AFFIRMATIVE DEFENSE

                 2                                           [Statute of Limitations]

                 3           2.      The claims of some of the alleged class members are barred, in whole or in part, by

                 4    the applicable statutes of limitations, including without limitation, the limitations periods

                 5    prescribed in California Labor Code Section 2699.3, the one-year limitations period contained in

                 6    California Code of Civil Procedure Sections 340(a) and (b), the three-year limitations period

                 7    contained in California Code of Civil Procedure Section 338, and the four-year limitations period

                 8    contained in California Business and Professions Code Section 17208.

                 9
                                                     THIRD AFFIRMATIVE DEFENSE
                 10
                                                                    [Estoppel]
                 11
                             3.      The claims of each alleged class member, or some of them, are barred, in whole or
                 12
                      in part, because the alleged class members are estopped by their own failure to and delay in
                 13
                      seeking redress to claim any right to damages or other relief from Defendants.
                 14
                 15                                 FOURTH AFFIRMATIVE DEFENSE

                 16                                                  [Laches]

                 17          4.      The claims of each alleged class member, or some of them, are barred, in whole or

                 18   in part, by the doctrine of laches due to their failure to and delay in seeking redress.

                 19
                                                     FIFTH AFFIRMATIVE DEFENSE
                 20
                                                             [Consent/Ratification]
                 21
                             5.      Plaintiff’s claims and the claims of each alleged class member, or some of them,
                 22
                      are barred, in whole or in part, by Plaintiff’s and the alleged class members’ express or implied
                 23
                      consent to the conduct of which they complain and/or ratification of that conduct due to their
                 24
                      failure to and delay in seeking redress.
                 25

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    Mitchell     28
  Silberberg &
   Knupp LLP
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                                                    DEFENDANTS’ ANSWER TO COMPLAINT



                                                                                                                 Exhibit 16
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                  1                                  SIXTH AFFIRMATIVE DEFENSE

                  2                      [Lack of Willfulness or Knowing or Intentional Conduct]

                  3          6.      Neither Plaintiff nor any alleged class member are entitled to any penalty or

                  4   liquidated damages award, including, but not limited to any penalties or liquidated damages under

                  5   California Labor Code Sections 201.5, 203, 226, 226.3, 510, 512, 558, 558.1, 1194, 1194.2,

                  6   1197.1, 1198, 1198.5, and/or 2699; the Industrial Welfare Commission Wage Orders; and/or

                  7   penalties alleged in the Complaint. That is because, at all relevant times, Defendants did not act

                  8   willfully, knowingly, or intentionally, but rather acted in good faith and had reasonable grounds

                  9   for believing that they did not violate relevant laws or the specified provisions.

                 10
                                                   SEVENTH AFFIRMATIVE DEFENSE
                 11
                                                                  [Good Faith]
                 12
                             7.      Neither Plaintiff nor any alleged class members are entitled to any penalty or
                 13
                      liquidated damages award, including, but not limited to any penalties or liquidated damages under
                 14
                      California Labor Code Sections 201.5, 203, 226, 226.3, 510, 512, 558, 558.1, 1194, 1194.2,
                 15
                      1197.1, and/or 2699; the Industrial Welfare Commission Wage Orders; and/or penalties alleged in
                 16
                      the Complaint. That is because, at all relevant times, Defendants acted in good faith and had
                 17
                      reasonable grounds for believing that Defendants did not violate relevant laws or the specified
                 18
                      provisions.
                 19

                 20                                 EIGHTH AFFIRMATIVE DEFENSE

                 21                  [Compliance or Substantial Compliance with Legal Obligations]

                 22          8.      Defendants complied or substantially complied with all obligations under the law.

                 23
                                                     NINTH AFFIRMATIVE DEFENSE
                 24
                                         [Unconstitutionality of Penalties or Liquidated Damages]
                 25
                             9.      Plaintiff and each alleged class member are not entitled to recover any penalties or
                 26
                      liquidated damages, such as but not limited to, those Plaintiff and each alleged class member seek
                 27
                      under or based upon California Labor Code Sections 201.5, 203, 226, 226.3, 510, 512, 558, 558.1,
    Mitchell     28
  Silberberg &
   Knupp LLP
15814936.2                                                              4
                                                   DEFENDANTS’ ANSWER TO COMPLAINT



                                                                                                             Exhibit 16
                                                                                                              Page 106
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                  1   1194, 1194.2, 1197.1, and/or 2699, the Industrial Welfare Commission Wage Orders or otherwise,

                  2   and any award of such penalties or damages would, in general or under the facts of Plaintiff’s and

                  3   the alleged class members’ particular claims, violate Defendants’ constitutional rights under the

                  4   provisions of the United States and California Constitutions including, but not limited to, the due

                  5   process clauses of the Fifth and Fourteenth Amendments of the United States Constitution and the

                  6   excessive fines and the cruel and unusual punishment clauses of the Eighth Amendment of the

                  7   United States Constitution, as well as the due process and excessive fines clause contained in the

                  8   California Constitution.

                  9
                                                    TENTH AFFIRMATIVE DEFENSE
                 10
                                                             [LMRA Preemption]
                 11
                                10.   Plaintiff’s claims are preempted in whole or in part by Section 301 of the Labor
                 12
                      Management Relations Act and are barred because Plaintiff’s claims arise from or require
                 13
                      interpretation of the applicable SAG-AFTRA collective bargaining agreement.
                 14
                 15                               ELEVENTH AFFIRMATIVE DEFENSE

                 16                                         [Reservation of Rights]

                 17             11.   Defendants do not presently know all of the facts and circumstances respecting

                 18   Plaintiff’s and/or the alleged class members’ claims, particularly as no class action has been

                 19   certified and the scope of the action, including any proposed class, remains unclear. Defendants

                 20   reserves the right to amend this Answer should it later discover facts demonstrating the existence

                 21   of additional affirmative defenses.

                 22
                                                            PRAYER FOR RELIEF
                 23
                                WHEREFORE, HBO and Cooler Waters pray for judgment as follows:
                 24
                                1.    That Plaintiff and each alleged class member take nothing by reason of the
                 25
                      Complaint, and that the Complaint and each cause of action be dismissed with prejudice on the
                 26
                      merits;
                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
15814936.2                                                             5
                                                   DEFENDANTS’ ANSWER TO COMPLAINT



                                                                                                             Exhibit 16
                                                                                                              Page 107
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                  1          2.      That judgment be entered in favor of Defendants and against Plaintiff and, if any

                  2   class action is allowed to proceed, against each alleged class member;

                  3          3.      That Defendants be awarded their reasonable attorneys’ fees and costs of suit, as

                  4   provided by law; and

                  5          4.      That the Court order such other and further relief in favor of Defendants as the

                  6   Court deems just and proper.

                  7   DATED: September 19, 2023                    Respectfully submitted,
                  8                                                MITCHELL SILBERBERG & KNUPP LLP
                  9

                 10                                                By:
                                                                          STEPHEN A. ROSSI
                 11                                                       Attorneys for Defendants
                                                                          HOME BOX OFFICE, INC. and COOLER
                 12                                                       WATERS PRODUCTIONS, LLC
                 13

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    Mitchell     28
  Silberberg &
   Knupp LLP
15814936.2                                                            6
                                                  DEFENDANTS’ ANSWER TO COMPLAINT



                                                                                                            Exhibit 16
                                                                                                             Page 108
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                  1                                        PROOF OF SERVICE

                  2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                  3          I am employed in the County of Los Angeles, State of California, I am over the age of
                      eighteen years and am not a party to this action; my business address is Mitchell Silberberg &
                  4   Knupp LLP, 2049 Century Park East, 18th Floor, Los Angeles, CA 90067-3120, and my business
                      email address is mmo@msk.com.
                  5
                              On September 19, 2023, I served a copy of the foregoing document(s) described as
                  6   DEFENDANTS HOME BOX OFFICE, INC. AND COOLER WATERS PRODUCTIONS,
                      LLC’S ANSWER TO PLAINTIFF’S COMPLAINT on the interested parties in this action at
                  7   their last known address as set forth below by taking the action described below:
                  8    Attorneys for Plaintiff Paul Ward
                  9    Frank H. Kim                                        Helen U. Kim
                       fkim@kim-legal.com                                  helen@helenkimlaw.com
                 10    KIM LEGAL, APC                                      HELEN KIM LAW, APC
                       3435 Wilshire Blvd, Suite 2700                      3435 Wilshire Blvd, Suite 2700
                 11
                       Los Angeles, CA 90010                               Los Angeles, CA 90010
                 12    Telephone: (323) 482-3300                           Telephone: (323) 487-9151
                       Facsimile: (866) 652-7819                           Facsimile: (866) 652-7819
                 13

                 14
                 15        BY PLACING FOR COLLECTION AND MAILING: I placed the above-mentioned
                            document(s) in sealed envelope(s) addressed as set forth above, and placed the
                 16         envelope(s) for collection and mailing following ordinary business practices. I am readily
                            familiar with the firm’s practice for collection and processing of correspondence for
                 17         mailing with the United States Postal Service. Under that practice it would be deposited
                            with the U.S. Postal Service on that same day with postage thereon fully prepaid at 2049
                 18         Century Park East, 18th Floor, Los Angeles, California 90067-3120 in the ordinary course
                            of business.
                 19
                           BY ELECTRONIC SERVICE VIA CASE ANYWHERE: I provided the document(s)
                 20         listed above electronically to Case Anywhere to be served on the recipients designated on
                            the transaction receipt for this case located on the Case Anywhere website.
                 21

                 22          I declare under penalty of perjury under the laws of the United States that the above is true
                      and correct.
                 23
                             Executed on September 19, 2023, at Los Angeles, California.
                 24

                 25

                 26                                                                 Melanie Ocubillo

                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                       7
15814936.2
                                                   DEFENDANTS’ ANSWER TO COMPLAINT




                                                                                                             Exhibit 16
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           EXHIBIT 17




                                                                  Exhibit 17
                                                                   Page 110
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                  1   MITCHELL SILBERBERG & KNUPP LLP
                      ADAM LEVIN (SBN 156773), axl@msk.com
                  2   STEPHEN A. ROSSI (SBN 282205), sar@msk.com
                      GENEVIEVE L. JAVIDZAD (SBN 336138) glj@msk.com
                  3   2049 Century Park East, 18th Floor
                      Los Angeles, CA 90067-3120
                  4   Telephone: (310) 312-2000
                      Facsimile: (310) 312-3100
                  5
                      Attorneys for Defendants
                  6   Home Box Office, Inc. and
                      Cooler Waters Productions, LLC
                  7

                  8                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                  9                                FOR THE COUNTY OF LOS ANGELES
                 10                     CENTRAL DISTRICT – SPRING STREET COURTHOUSE
                 11   PAUL WARD, individually and on behalf of     CASE NO. 23STCV11666
                      other persons similarly situated,
                 12                                                Judge:        Hon. Maren Nelson
                                     Plaintiff,                    Dept:         17
                 13
                             v.                                    AMENDED PROOOF OF SERVICE RE
                 14                                                DEFENDANTS HOME BOX OFFICE,
                      HOME BOX OFFICE, INC., a foreign             INC. AND COOLER WATERS
                 15   corporation; COOLER WATERS                   PRODUCTIONS, LLC’S ANSWER TO
                      PRODUCTIONS, LLC, a foreign limited          PLAINTIFF’S COMPLAINT
                 16   liability company; and DOES 1 through 50,
                      inclusive,                                   File Date:     May 22, 2023
                 17                                                Trial Date:    None Set
                                     Defendants.
                 18

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    Mitchell     28
  Silberberg &
   Knupp LLP
15815754.1
                                  AMENDED PROOF OF SERVICE RE DEFENDANTS’ ANSWER TO COMPLAINT
                                                                                                     Exhibit 17
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                  1                                        PROOF OF SERVICE

                  2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                  3          I am employed in the County of Los Angeles, State of California, I am over the age of
                      eighteen years and am not a party to this action; my business address is Mitchell Silberberg &
                  4   Knupp LLP, 2049 Century Park East, 18th Floor, Los Angeles, CA 90067-3120, and my business
                      email address is mmo@msk.com.
                  5
                              On September 19, 2023, I served a copy of the foregoing document(s) described as
                  6   DEFENDANTS HOME BOX OFFICE, INC. AND COOLER WATERS PRODUCTIONS,
                      LLC’S ANSWER TO PLAINTIFF’S COMPLAINT on the interested parties in this action at
                  7   their last known address as set forth below by taking the action described below:
                  8    Attorneys for Plaintiff Paul Ward
                  9    Frank H. Kim                                        Helen U. Kim
                       fkim@kim-legal.com                                  helen@helenkimlaw.com
                 10    KIM LEGAL, APC                                      HELEN KIM LAW, APC
                       3435 Wilshire Blvd, Suite 2700                      3435 Wilshire Blvd, Suite 2700
                 11
                       Los Angeles, CA 90010                               Los Angeles, CA 90010
                 12    Telephone: (323) 482-3300                           Telephone: (323) 487-9151
                       Facsimile: (866) 652-7819                           Facsimile: (866) 652-7819
                 13

                 14
                 15        BY PLACING FOR COLLECTION AND MAILING: I placed the above-mentioned
                            document(s) in sealed envelope(s) addressed as set forth above, and placed the
                 16         envelope(s) for collection and mailing following ordinary business practices. I am readily
                            familiar with the firm’s practice for collection and processing of correspondence for
                 17         mailing with the United States Postal Service. Under that practice it would be deposited
                            with the U.S. Postal Service on that same day with postage thereon fully prepaid at 2049
                 18         Century Park East, 18th Floor, Los Angeles, California 90067-3120 in the ordinary course
                            of business.
                 19
                           BY ELECTRONIC MAIL: I served the above-mentioned document electronically on
                 20         the parties listed at the email addresses above and, to the best of my knowledge, the
                            transmission was complete and without error in that I did not receive an electronic
                 21         notification to the contrary.

                 22
                             I declare under penalty of perjury under the laws of the United States that the above is true
                 23   and correct.

                 24          Executed on September 19, 2023, at Los Angeles, California.

                 25

                 26
                                                                                    Melanie Ocubillo
                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
                                                                       2
15815754.1
                                 AMENDED PROOF OF SERVICE RE DEFENDANTS’ ANSWER TO COMPLAINT




                                                                                                             Exhibit 17
                                                                                                              Page 112
